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                           LINITED STATES DISTRICT COURT      i'"1            i.lt :;q''r
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                                                              YA             ','' 1 'rl
                          FOR THE DISTRICT OF MINNESOTA
                                                                      r\tv           2ttl
[r.rNDER SEAL],                               Case No.       CLEHA,   r,.s   -,"!.      .-i.,L HT

                            Plaintiff,        COMPLAINT

       v                                                   tl-Sc -5lo3wFlrp,
IUNDER SEAL],                                 FTLED IN CAMERA AND T]NDER
                                              SEAL
                            Defendants.       PURSUAT{T TO 31 U.S.C. $3730OX2)


                    DOCUMENT TO BE KEPT UNDER SEAL

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Attomeys for [under seal]

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                     UNITED STATES DISTRICT COURT                            I   t+71
                    FOR THE DISTRICT OF MINNESOTA

UNITED STATES ofAMERICA, and
THE STATE OF MINNESOTA,
exrei. CAMI LANE,

                                               FILED IN CAMERA AND UNDER SEAL
                     Plaintiffs and Relator,
                                               civil Action Fil" uo.,   1   1' 5 L' 5lAZ
                                                                                              D\uF/rNL
                                               Jury Triat Demanded

REHABAUTHOzuTY MOORHEAD, LLC,
RXHABAUTHOzuTY THIEF RIVER FALLS,
LLC,

PHYSICAL REHABILITATION NETWORK.
LLC,
PHYSICAL REHABILITATION NETWORK
HOLDINGS, LLC
REHABAUTHOzuTY, LLC,
IDAHO REHABILITATION PARTNERS,
LLC,

REHABAT,]-IHORITY   CALDWELL LLC,
REHABAUTHORITY      EAGLE LLC,
REHABAI-I"THORITY   HOMEDALE, LLC,
REHABAUTHORITY      KIINA LLC,
REHABAUTHORITY      OVERLAND LLC,
REHABAT]-THORITY    NAMPA LLC,
REHABAUTHORITY      STA& LLC,
REHABAUTHORITY      SUNNYSIDE LLC,
REHABAT-NHORITY     WOODRUFF LLC.

REHABAI]"THORITY AUTUMN FIELDS
LLC,
REHABAUTHORITY DEMERS LLC,
REHABAUTHORITY UNIVERSITY TOWN
CENTER LLC,                                                                           l\l
                                                                                      tt  D
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REHABAUTHORITY CHEYENNE, LLC,

KEVIN HULSEY, DPT,
H CORP.

GALEN DANIELSON, DPT,
J]GGSY, INC.,

ADAM COPE, DPT,
CHILE,INC.,

MATTHEW SMITH, DPT,
CRAZYBEARTOOTH,INC.,

NICHOLE WALKER, DPT,
NIKKINC.,

AMY ROE, and

PREMIER BILLING SOLUTIONS, LLC.,




                     Defendants.



                   FALSE CLAIMS ACT COMPLAINT




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I.     GENERALINTRODUCTION

       1.     Relator Cami Lane brings the action on behalf of the United States    of
America for treble damages and civil penalties arising from Defendants' fraudulent

conduct in violation of the Federal Civil False Claims Act, 31 U.S.C. $ 3729, et seq.

C'FCA") and involving claims made to and paid by the Government's healthcare

progralns including Medicare and Medicaid for outpatient physical and occupational

therapy.

       2.     The primary fraud schemes set forth in great detail below are 1) billing the

govemment for individual one-on-one therapy, while actually spitting the service to two

or even three patients who are scheduled and treated at the same time; 2) improperly

billing for unbundled services; and 3) billing for therapy provided by individuals who are

not licensed therapists eligible to performed the services billed to t}le Govemment.

       3.     This action is also brought under the respective q,,i taz provisions ofthe

False Claims Act of the State of Minnesota on behalf of the State of Minnesota. The

State of Minnesota, together with the United States, are hereinafter referred to as the

"Government" when reference is made to them collectively.

       4.     The pervasive unlawful conduct described herein began at least six (6)

years before the   filirg of this complaint and has continued to date with no sign of

abatement.




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II.    INTRODUCTIONTOTHEFRAUD

       5.     As the cost of surgical intervention and inpatient care rises, the number         of
Americans seeking treatment from outpatient physical and occupational therapy clinics as

an altemative to going 'hnder the knife" has risen dramatically. Generally equipped with

the same credentials and training as their inpatient counterparts, outpatient physical

therapy providers offer patients more flexible treatment plans and schedules as well as

the convenient ability to work on exercises from home, for free. Harris Williams            & Co.,

Physical Therapy Market Overview, February 2014, available at

httn://www.harriswi   II   i ams.com/s vs tem/files/industrv uodate/20   I   4.2.17 ohvsical theranv

 overview.odf.

       6.     V/ith the Medicare population continuing to grow and Medicaid

beneficiaries increasingly limited to less expensive outpatient altematives, the number          of
patients who are turning to the rapidly growing, highly fragmented, and extremely

competitive $30 billion outpatient therapy industry for receipt of their Govemment-

funded healthcare services continues to increase. According to a multi-year study

commissioned by the Departrnent of Health and Human Services' ("DHHS") Center for

Medicare and Medicaid ("CMS"), Medicare expenditures for outpatient therapy services

alone in 2010 totaled $5.6 billion, a 37.4Yo increase from 2006 reflecting a "rapidly

growing percentage of overall Medicare expendifures." Dever, et al., RTI Intemational,

Developing Outpatient Therapy Payment Altematives: Final Report,3 (February 2014).

httos://www.cms. sov/Medicare/Billins/Thera ovServices/Downloads/DOTPA-Final-

Report.odf

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http ://www.harriswilliams.com/s ystem/fi les/indusrry upda tel20l4.2.l7 physical therapy

  overvtew

           7.    To protect the availability of Medicare for future generations, CMS limits

tlre amount of therapy that it   will pay by imposirrg annual, per-beneficiary     o'therapy
                                                                                               caps"

with exceptions applicable only when services pesling more than t}re cap are properly

documented as "medically necessary." See CMS, Medicare Clatms Processing Manual,

(Dec.2,2A16) ch.5 $$ 10.2 - 10.31

           8.    Payment by the Govemment health programs for oulpatient physical

 therapy beyond the cap for each individual beneficiary triggers a oomanual medical

 review" C'MMR') of medical necessity by CMS only when                a certain amount over the

 cap-called the "threshold" amount-is exceeded. The2AlT o'therapy cap" and

 "threshold" amounts are $1,980 and $3,700, respectively. See CMS, Medicare Limits on

 Therapy Services, (January 2017), https://www.medicare.gov/pubs/pdf/10988-Medicare-

 Limits-Therao y-Services.pdf. Accordingly, the documentation in support ofthe medical

 necessity of amowts between the cap and threshold amounts is not typically reviewed

 by Medicare or Medicare contractors.

           9.    Outpatient therapy, particularly when significant numbers of Govemment

beneficiary patients are involved, is a volume-based business that depends on a reliable

referral base, a successful marketing sffategy, and      a   tightly managed patient schedule to

bill   as much therapy per therapist as possible    in order to reap significant and increasing

profits.



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       10.       Perhaps no outpatient therapy clinic in the nation understands the

importance of patient volume in generating profits more than Defendant

RehabAuthority, whose executive officers and equity members, Defendants Kevin

Hulsey, Galen Danielson, Adam Cope, Matthew Smith, and Nikki Walker, with the

knowing assistance of billing company Defendant Premier Billing Solutions and its

founder and Chief Executive Officer, Defendant Amy Roe, have created and maintained

a culture   of and commitment to calculated overbilling fraud against the Govemment. In

their scheme, out-patient physical and occupational therapy providers are continuously

encouraged and financially incentivized to place "breaking their all-time visit record" and

revenue generation over both the quality of their patients' care and their confactual

obligations to govemment healthcare programs. Defendants' high-volume billing scam

has been lucrative for them and very costly to the taxpayers.

       I    l.   In order to follow corporate policy and directives from executives who

dangle o'bonus points" tied to compensation, as well as the prospect of profit-sharing and

clinic ownership,   as incentives, Defendant     RehabAuthority's providers, pressured by a

corporate management structure with no compliance department defraud Medicare,

Medicaid, and Tricare    as   well   as other general healthcare programs   by (1) double-

booking and sometimes triple-booking beneficiaries, but billing for the therapy as ifit

was provided entirely one-on-one, (2) indiscriminately       applfng "modifier 59" in order to

"unbundle" services to increase reimbursement despite the lack ofany documentation

indicating the services were in fact provided separately; and (3) maintaining "efficiency''

by utilizing the services of personnel without Medicare credentialso or, in matry cases,

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without any medical credentials whatsoever, and falsely documenting and billing the

services as if they provided by a credentialed provider. Defendants RehabAuthority and

Premier Billing Solutions also have also conspired to (4) provide "deals" in ttre form     of

co-payment waivers to induce beneficiaries to obtain therapy services as well as to (5)

conceal and retain Medicare and Medicaid overpayments well beyond sixty (60) days

from identification of such overpayments.

       12.    These schemes, particularly the double-booking scheme and the illegal use

of improperly credentialed personnel, not only deny beneficiaries the bene{it oftheir

bargain, but also pose a serious risk to patients in need of therapy. When a therapist's

attention is divided or when therapy is entrusted to an individual with no therapy training,

misdiagnoses and injury inevitably increase.

       13.    In addition, patient beneficiaries requting, but not receiving, one-on-one

physical therapy may not recover as quickly or as completely, potentially costing the

taxpayers more healthcare dollars to resolve neglected physical impairments in the future.

       14.    Falsified medical records, showing lengthy individual one-on-one therapy,

when little was actually provided, also may be medically harmful to Covemment

beneficiaries whose family physicians may feel they are not properly recovering through

physical therapy and thus recommend surgery. Such beneficiaries would be physically

harmed by having to undergo unnecessary surgery and in tum the Govemment healthcare

progmms would be required to pay for surgery that resulted from fraudulent medical

records and lack of necessary physical therapy




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III.   STATEMENT OF THE CASE

       15.    This is a qui tam action against Defendants Idaho Rehabilitation Partners,

LLC., RehabAuthority, LLC, their executive management, and their commonly owned

and managed clinic locations (collectively "RehabAuthoritt''); Physical Rehabilitatton

Network, LLC. and Physical Rehabilitation Network Holdings, LLC; and Premier Billing

Solutions, LLC and its Chief Executive Officer to recover damages and civil penalties on

behalf of the United States of America and the State of Minnesota arising from the false

and/or fraudulent records, statements, and claims made or caused to be made for phlsical

therapy services not actually provided in violation of the False Claims Act,   3l U.S.C. $$

3729, et seq. (*FCA"), and the Minnesota False Claims Act C'MFCA"), Minn. Stat. $$

15C.01 et seq.

       16.       As summarized in part II above and described in detail below, from at least

January 2010 to the present and continuing, Defendants engaged in and continue to

engage in a scheme to create false records and to cause the submission of false claims to

Govemment health programs, including Minnesota's "Medical Assistance" Medicaid

program, for (1) therapy services not actually provided; (2) unbundled therapy services

without documentation confirming that such services were actually provided separately;

(3) services provided by non-credentialed and/or non-licensed personnel; and (4) services

provided pursuant to illegal inducements provided to "family and friends" and other

beneficiaries who were given "deals" in the form of waived beneficiary co-pays and

deductibles. In addition, Defendants (5) ordered the falsification ofbilling records in




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order to conceal their routine practice of retaining Medicare overpa)rments more than 60

days after the overpayments are known and identified.

       17.         Specifically, Defendants operate two physical therapy clinics located in

this District, including its second largest clinic overall, where physical therapy seryices

are provided to hundreds of patients who reside in Minnesota for which Defendants

cause claims for pa).ment to be submitted to the State of Minnesota Departrnent                   of
Human Services.

       1   8   .   Critical to the conspiracy to design and implement of all five of these

schemes is Defendant Premier Billing Solutions (*PBS"), which, through its close

operational relationship with the corporate and local management of RehabAuthority, by

far one of its largest clients, knowingly submits RehabAuthority's false claims for

payment and, in some cases, instructs RA employees to create false records to support its

false claims.

Iv.    FEDERAL JTJRISDICTION AND VENUE

       19. The acts prohibited by 3 I U.S.C. $ 3729 et seq. and             set   forth with particularity

herein occurred in Minnesota and elsewhere, as the Defendants do business in multiple

other states throughout the United States. Therefore, the court has jurisdiction over this

case pursuant to 3 I U.S.C. $ 3732(a) as         well   as   under 28 U.S.C. $ 1345. This court has

supplemental jurisdiction over this case for the claims brought on behalf of the State                 of
Minnesota pursuant to       3   I U.S.C.   $ 3732(b) and/or 28 U.S.C. $ 1367, inasmuch as

recovery is sought on behalfofthe United States.



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           20. Venue is proper in the District pursuant to 3l U.S.C. $ 3732(a), and 28 U.S.C.

$ l39l(b) and (c), because the Defendants transact business in this District and one or

more of the acts committed by the Defendants and prosecuted by 31 U.S.C. $ 3729

occurred in this District.

           2   1   .   Relator has provided previously to the Attorney General of the United States

and the Attomey General for the State of Minnesota a statement of all material evidence

and information related to the Complaint pusuant to 31 U.S.C. $ 3730(bX2) and Minn.

Stat. $$ 15C.05(e). Relator also on October 19,2017 provided notice ofher intent to                 file

this action to the Minnesota United States Attomey's Office.

V.         PARTIES

           A. Relator

           22.           Relator, Cami Lane, is a citizen of the United States of America and   a

resident of the State of Idaho, residing in the City of Wilder. Lane, who worked for

Defendant RehabAuthority from January 13, 2010 until July 16,20178 as a Front Office

Coordinator and Data Checker, brings this action based upon her independent and direct

knowledge. Relator brings this action on behalf of the United State of America pursuant

to   3l   U.S.C. $ 3730(bX2) and on behalf of the State of Minnesota punuant to Minn.

Stat. $$       l5C.0l      et seq.

           B. GovernmentPlaintiffs

           23.           The United States of America, through its Department of Health &

Human Services ("DHS") and Centers for Medicare and Medicaid Services ("CMS"),

TRICARE and other healthcare agencies and programs, administers and regulates

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payments funded by the federal Medicare program and the Stateffederal Medicaid

program and other federal programs. These federally-funded healthcare programs are

hereinafter referred to as "Government Healthcare Programs."

       24.     The State of Minnesota through its Department of Human Services,

administers and, in conjunction with the Federal government, funds medical services

provided as part of the state's Medical Assistance program (hereinafter referred to as

"Medicaid").

       C. Corporate Defendants

          1. Corporate Entities
       25.     Physical Rehabilitation Network, LLC is a Delaware limited liability

company with a principal place of business located at 5962 La Place Court, Suite 170,

Carlsbad, Califomia 92008. It is registered as a foreign LLC in California with its

registered agent in Califomia listed as The Watkins Firm, A Professional Corporationo

located at 9915 Mira Mesa Boulevard, Suite 130, San Diego,       Califomia,92l3l.

       26.     Physical Rehabilitation Network Holdings, LLC is a Delaware limited

liability company. Its registered agent in Delaware is listed   as The Corporation   Trust

Company, located at the Corporation Trust Center, 1209 Orange Street, Wilmington,

Delaware 1980   l.

       27.      Idaho Rehabilitation Partners, LLC is an Idaho limited liability

company with a principal place of business located at 4275 Executive Square, No. 1 020,

La Jolla, Califomia 92437.l[s registered agent is Defendant Kevin Hulsey, founder and

chiefexecutive oflicer ofRehabAuthority, located at 1560 South Carol Street, Meridian,

                                             14
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Idaho 83646, and    is   managing member is Defendant Physical Rehabilitation Network

LLC

         28.   RehabAuthority, LLC, is an Idaho limited liability corporation with its

principal place ofbusiness located at 1560 South Carol Street, Meridian, Idaho, 83646.

Its registered agent is Defendant Kevin Hulsey located at 1560 South Carol Street,

Meridian, Idaho, 83646. It is also registered as a foreign LLC in Minnesota. Its

registered agent in Minnesota is Kim Rosenthal at 511 Highway 59 South Suite A, Thief

River Falls, Minnesota, 56701. [t is also registered as a foreign LLC in North Dakota. Its

registered agent is Eldon Johnson at 775 Riverbend Road, Oxbow, North Dakota 58047.

It is also registered as a foreign LLC in Wyoming with the above listed Idaho mailing

address.

         29.    Premier Billing Solutions, LLC is an ldaho limited liability company with

a   principal place ofbusiness located at 2965 East Tarpon Drive, Suite 150, Meridian,

ldaho 83642.Its registered agent, Amy Roe, is listed   a$   being at the same address.

            2. Individual Clinic Entities
               a.   Minnesota

        30.    RehabAuthority Moorhead LLC, is a Minnesota limited liability

corporation with its principal place ofbusiness located at 2505    8th   Street South,

Moorhead, Minnesota, 56560. Its registered agent is Capitol Lien Records & Research

Inc., located at 1010 N Dale St., St. Paul, Minnesota 55117. With the Minnesota

Secretary of State, it identifies its manager as Idaho Rehabiiitation Partners LLC with a

principal office at 5962La Place Court Suite 170, Carlsbad, California,92008.

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       31.      RehabAuthority Thief River Falls LLC, is a Minnesota limited liability

corporation with its principal place of business located at 511 Highway 59 South Suite A,

Thief fuver Fa1ls, Minnesota, 56701. Its registered agent is Capitol Lien Records   &

Research Inc., located at   l0l0 N Dale   Street, St. Paul, Minnesota 55117. With the

Minnesota Secretary of State, it identifies its manager as Idaho Rehabilitation Parhers

LLC with   a   principal office at 5962La Place Court Suite 170, Carlsbad, Califomia,

92008. It is one ofRehabAuthority's largest clinics.

                b. Idaho
       32.      RehabAuthorify CaIdweII LLC, is an Idaho limited liability corporation

with its principal place ofbusiness located at 120 E. Pine Street, Caldwell, Idaho, 83605.

Its registered agent is Defendant Kevin Hulsey located at 1560 South Carol Street,

Meridian, Idaho, 83646.

       33.      RehabAuthority Eagle LLC, is an Idaho limited liability corporation with

its principal place of business located at 5520 North Eagle Road No. 1 02, Boise, Idaho,

83713. Its registered agent is Defendant Kevin Hulsey located at 1560 South Carol Street,

Meridian, Idaho, 83646.

       34.      RehabAuthority Homedaleo LLC, is an Idaho limited liability corporation

with its principal place of business located at 134 East Idaho Avenue, Homedale, Idaho,

83628. Its registered agent is Defendant Kevin Hulsey located at 1560 South Carol Street,

Meridian, Idaho, 83646.

       35.      RehabAuthority Kuna LLC, is an Idaho limited liability corporation with

its principal place ofbusiness located at 943 Linder Road, No. 104, Kuna, Idaho, 83634.

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Its registered agent is Defendant Kevin Hulsey located at 1560 South Carol Street,

Meridian, Idaho, 83646

       36.      RehabAuthority Overland LLC, is an Idaho limited liability corporation

with its principal place of business located at 10790 West Overland Road, Boise, Idaho,

83709. Its registered agent is Defendant Kevin Hulsey located at 1560 South Carol Streeq

Meridian, Idaho, 83646.

       37.      RehabAuthority Nampa LLC, is an Idaho limited liability corporation

with its principal place of business located at 337 West Iowa Avenue, Nampa, Idaho,

83686. Its registered agent is Defendant Kevin Hulsey located at 1560 South Carol Street,

Meridian, Idaho, 83646.

      38.       RehabAuthority Star, LLC, is an Idaho limited liability corporation with

its principal place ofbusiness located at 64 South Star Road Suite 2, Star, Idaho, 83669.

Its registered agent is Defendant Kevin Hulsey located at 1560 S. Carol Street, Meridian,

Idaho, 83646.

       39.      RehabAuthority Sunnyside LLC, is an Idaho limited liability corporation

with its principal place of business located at 3155 Channing Way Suite D, Idaho Falls,

Idaho, 83401. Its registered agent is Defendant Kevin Hulsey located at 1560 South Carol

Streeg Meridiarq Idaho, 83646.

      40.       RehabAuthority WoodruffLlC, is an Idaho limited liability corporation

with its principal place of business located at 720 South WoodruffAvenue, Idaho Falls,

Idaho, 83401. Its registered agent is Defendant Kevin Hulsey located at 1 560 South Carol

Street, Meridian, Idaho, 83646, Meridian, Idaho, 83646.

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              c.   North Dakota

       41.    RehabAuthority Autumn Fields LLC, is an Idaho limited liability

corporation registered as a foreign LLC in North Dakota with a principal place    of

business located at 3l7O 43'n Street South, Suite 101, Fargo, North Dakota, 58104. Its

principal office is identified as 5962LaPlace Court, Suite 170 Carlsbad, California

92008. Its registered agent in North Dakota is Eldon Johnson, I 100 19n Avenue North,

Suite K, Fargo, North Dakota 58102-2269.1ts registered agent in Idaho is Defendant

Kevin Hulsey located at 1560 South Carol Street, Meridian, Idaho, 83646.

       42.    RehabAuthority Demers LLC, is an Idaho limited liability corporation

registered as a foreign LLC in North Dakota. Its principal place of business in North

Dakota is located at 701 Demers Avenue, Grand Forks, North Dakota, 58201. Its

principal offrce is identified with the North Dakota Secretary of State is 5962 La Place

CouG Suite 170, Carlsbad, California 92008. Its registered agent in North Dakota is

Eldon Johnson I100    19th   Avenue North, Suite K, Fargo, North Dakota 58102-2269.tts

registered agent in Idaho is Defendant Kevin Hulsey located at i560 South Carol Street,

Meridian, Idaho, 83646.

       43.    RehabAuthority University Town Center LLC, is an Idaho limited

liability corporation registered as a foreign LLC in North Dakota. Its principal place of

business in North Dakota is located at I100 19th Avenue North, Suite K, Fargo, North

Dakota, 58102. Its principal ofFrce is identified with the North Dakota Secretary of State

is 5962 La Place Court Suite 170 Carlsbad Califomia 92008. Its registered agent in

North Dakota is Eldon Johnson 1100      19th   Ave North, Suite K, Fargo, North Dakota

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581A2-2269.Its registered agent in Idaho is Defendant Kevin Hulsey located at 1560

South Carol Street, Meridian, Idaho, 83646.

              d. Wvomins
       44.    RehabAuthority Cheyenne, LLC, is a Wyoming limited liability

corporation with its principal place ofbusiness located at 4515c East Pershing Boulevard,

Cheyenne, Wyoming, 82001. Its registered agent is Unisearch, Inc., at 1107 West 6th

Avenue, Suite B, Cheyenne, Wyoming 82001 with its principal offrce and mailing

address at 5962La Place Court, Suite 170, Carlsbad, Califomia, 92008.

       D. Individual Defendants and Their Holding Companies

       45.    Defendant Kevin Hulsey is a citizen of the United States of America and a

resident of the City of Meridian, Canyon County, State of ldaho. Hulsey is the founder,

manager, and Chief Executive Officer of Defendant RehabAuthority,      LLC. He was        and

is knowingly involved in the design and implementation of the fraud schemes as

described in detail herein.

       46.    Defendant H Corp. is an Idaho corporation with   a   principal place   of

businesses located at I560 South Carol Street, Meridian, Idaho 83646. Its incorporator,

president, and registered agent, is Kevin Hulsey who is also located at 1560 South Carol

Street, Meridian, Idaho 83646. Defendant H Corp is the second manager     of
RehabAuthority, LLC along with Defendant Kevin Hulsey.

       47.    Defendant Galen Danielson, is a citizen of the United States of America

and a resident of City of Meridian, Canyon County, State of Idaho. Danielson is the       Chief



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Operating Offrcer of RehabAuthoriry. He was and is knowingly involved in the design

and implementation of the fraud schemes as described in detail herein.

       48.     Jiggsy, Inc. is an Idaho corporation with   a   principal place ofbusiness

located at 4125 North Rogue River Way, Meridian, Idaho 83646. Its incorporator, sole

member of its Board of Directors, and registered agent is Galen Danielson who is located

at 1560 South Carol Street, Meridian, Idaho 83646. Defendant Jiggsy Inc. is a member         of

RehabAuthority, LLC.

       49.     Defendant Adam Cope, is a citizen of the United States of America and a

resident of City of Meridian, Canyon County, State of Idaho. Cope is the Chief Human

Resources Officer of RehabAuthority as well as the Vice President of Recruiting and

University Relations for Physical Rehabilitation Networlg LLC ('PRN") and was and is

knowingly involved in the design and implementation of the fraud schemes as described

in detail herein.

       50.     Chile, Inc. is an ldaho corporation with   a   principal place ofbusinesses

located at 1814 West Milazzo Street, Meridian, Idaho 83646. Its incorporator, president,

and registered agent is Adam M. Cope, who is also located at 1814 West Milazzo Stree!

Meridian, Idaho 83646. Defendant Chile, Inc. is a member of RehabAuthority, LLC.

       51.     Defendant Matthew Smith, is a citizen of the United States of America

and a resident of City of Wilder, Canyon County, State of Idaho. Smith is

RehabAuthority's Chief Practice Officer and in March 2017 became the Chief

Compliance Officer for Physical Rehabilitation Network, LLC ('PRN"), a position

which, on information and belief, he holds in addition to his RehabAuthority position.

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Smith was and is knowingly involved in the design and implementation of the fraud

schemes as described in detail herein.

       52.     CrazyBeartooth, Inc. is an Idaho corporation with     a   principal place   of

business located at27607 Ustick Road, Wilder, Idaho 83676. Its incorporator, president,

and registered agent is Matthew Smith, who is also located at27607 Ustick Road,

Wilder, Idaho 83676. Defendant CrazyBeartooth, Inc. is a member of RehabAuthority,

LLC.

       53.     Defendant Nichole Walker, is a citizen of the United States of America

and a resident of City of Timnath, Larimer County, State of Colorado. Walker is Chief

Administrative Offrcer of RehabAuthority and was and is knowingly involved in the

desiga and implementation of the fraud schemes as described in detail herein.

       54,     Nikk Inc. is an Idaho corporation with a principal place ofbusiness located

at 5241 Rock   Hill   Street, Timnath, Colorado 80547. Its incorporator, president, and

registered agent is Nichole Walker located at 1560 South Carol Street, Meridian, Idaho

83@6. Defendant Nikk Inc. is a member of RehabAuthority,        tLC.

       55.     Defendant Amy Roe is a citizen of the United States of America and a

resident of City of Meridian, Canyon County, State of Idaho. Roe is a founder,

incorporator, the Chief Executive Officer, and, since May 2007. the sole member        of

Defendant Premier Billing Solutions, LLC and was and is knowingly involved in the

design and implementation of the fraud schemes as described in detail herein.




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VI.    APPLICABLELEGALAUTHORITY

       A.   False Claims Act

       56.      The False Claims Act ("FCA") was originally enacted during the Civil

War. Congress substantially amended the Act in 1986,2009, and 2010, to enhance the

ability of the Govemment to recover losses it sustained       as a result   of its payrnent   of
fraudulent claims. After Congress found in 1986 that fraud in federal programs was

pervasive and that the FCA is a primary tool for combating government fraud, Congress

amended the Act with the intention of creating incentives for individuals with knowledge

of fraud against the Govemment to disclose the information without fear of reprisals and

to encourage the private bar to commit legal resources 10 prosecuting fraud on the

Govemment's behalf to create a private/public parfrrership to obtain recovery for

fraudulent claims submitted to the Government. See generally, False Claims Act

Amendments: Hearings Before the Subcomm. of Admin. Law and Gov't Relations of the

Comm, on the Judiciary,99th Cong. 48 (1986)

       57   .   The FCA prohibits, inter alia: (a) knowingly presenting (or causing to be

presented) to the federal government a false or fraudulent claim for payment or approval;

(b) knowingly making or using, or causing to be made or used, a false or fraudulent

record or statement material to a false or fraudulent claim; and (c) failing to retum known

overpa).rnents received from the govemment.        3l   U.S.C. $53729 et seq. Any person who

violates the FCA is liable for civil penalties for each violation, plus three (3) times the

amount of the damages sustained by the United States. 31 U.S.C. 93729(a)(l). After a

catch up inflation increase, the range of the civil penalties is adjusted for inflation by the

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annual cost-of-living-adjustment. Federal Civil Penalties Inflation Adjustment Act

Improvements Act of 2015 (Section 701 of the Bipartisan Budget Act of 2015, Public

Law 114-74,) For civil penalties assessed after February 3,2An, whose associated

violations occurred after November 2,2015, the adjusted civil penalties are between

$10,957 and $21,916 per violation, while civil penalties assessed after August 1,2016,

and on or before February 3, 2017, whose associated violations occurred after November

2,2015, are between $10,781 and $21,563.28 C.F.R.        S 85.5.

      B. Minnesota False Claims Act

       58.    The Minnesota False Claims Act similarly imposes liability on any person

who knowingly presents, or causes or induces another person to present, a false claim to

the state for payment or approval. See Minn. Stat. $$ 15C.01 et seq.

       59.    When a medical care provider willfully submits claims for reimbusement

knowing that such claims constitute false representations, resulting in the payment   of

public funds for which the provider is ineligible, Minnesota law provides that the State is

entitled to recover treble damages plus a civil penalty ofnot less than $5,500 and not

more than $11,000$ per violation. Minn. Stat. $ 15C.02(a).

       C. The Medicare and Medicaid Pro         and Pavment of Claims for
          Outnatient Phvsical Theraov S ervices under Medicare Part B and           Otler
          Federal Healthcare Prosrams

       60.    Title   XVII   of the Social Security Act, 42 U.S.C. $$ 1395 et seq., enacted

in 1965, established the Health Insurance for the Aged and Disabled Program, commonly

referred to as the Medicare Program. Pursuant to the Medicare program and other

govemment healthcare programs described below, the govemment pays claims for

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certain medical services, including outpatient physical therapy services, for persons age

65 and older, and for persons with disabilities. 42 U.S.C. $ 1395k(aX2)(C).

       61,    Medicare pays health care providers for the reasonable costs ofproviding

covered health services to Medicare beneficiaries. 42 U.S.C. $ 1395x(v)(1)(A).

       62.    Critical to the continued solvency and viability of the Medicare and other

Government health programs is that healthcare providers bill only for services that are

actually performed.

       63.    The United States Department of Health and Human Services ("HHS") is

responsible for the administration and supervision of the Medicare program. The

Center for Medicare and Medicaid Services     ('CMS') is the division of HHS directly

responsible for the administration of Medicare.

       64.    Medicare Part A, which is not at issue here, provides hospital insurance

benefits to the elderly and disabled. 42 U.S.C. $ 1395c et seq.

       65.    Medicare Part B is a federally subsidized, voluntary insurance program

that pays a portion of the cost of certain medical and other health services not covered

by the Part A program, including some physical therapy services. Payment for

Medicare claims is made by the United States through CMS. In turn, CMS contracts

with private insurance companies to receive, review, and pay appropriate claims for

outpatient physical therapy services. 42 U.S.C. $ 1395h and 42 U.S.C. $ 1395u.

       66.    The Federal Government administers other health care programs

including, but not limited to, TRICARE/CHAMPUS, CHAMPVA, Medicaid and



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federal workers' compensation programs, all ofwhich have suffered fraud at the hands

ofthe Defendants.

        67.    TRICARE/CHAMPUS, administered by the United States Department              of

Defense, is a health care program for individuals and dependents alfiliated with the

armed forces. 10 U.S.C. $$ 1071 et seq.;32 C.F.R. $ 199.4(a).

        68.     CHAMPVA, administered by the United States Department of Veterans

Affairs, is a health care program for the families of veterans with 100 percent service-

connected disability. 38 U.S.C. $$ 1781 et seq.;38 C.F.R. $ 17.270(a).

         69.   The Medicaid Program ("Medicaid"), administered by individual states

and   jointly funded by State and Federal taxpayer revenue, is a health insurance

program also created as part ofthe Social Security Act,42 U.S.C. $$ 1396-1396v. The

federal portion of a state's Medicaid paymentso known as the Federal Medical

Assistance Percentage C'FMAP'), is based on a state's per capita income compared to

the national average.42 U.S.C. $ 1396d(b). In Minnesota, the FMAP constitutes 50%

of Medicaid expenditures. The Medicaid program in Minnesota is called "Medical

Assistance." Minn. Stat. $ 2568.01

        74.    The Federal Employees' Compensation Act provides workers'

compensation coverage, including coverage of medical care received as a result      ofa

workplace injury, to federal and postal employees. The Act is administered by the

Department of Labor, Division of Federal Employees'Compensation. 5 U.S.C. $$

8101 et seq.; 20 C.F.R. 0$ lA.0 et seq.



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          1           and M c       Enrollment Process Partici atio
              Reouirements. and Provider Asreements.

       71.    To participate in the Medicare program, a healthcare provider must enter

into a contract with CMS in which the provider agrees to conform to all applicable

statutory and regulatory provisions relating to Medicare payments and reimbursements.

42 U.S.C. $ 1395cc. For example, healthcare providers participating in the Medicare

program must:


              (a) Refrain from making false statements or misrepresentations of material

              facts conceming pa),ment requests;

              (b) Not bill for any services or products that were not performed or

              delivered in accordance with all applicable policies;

              (c) Be fully licensed and/or certified under all applicable state and federal

              laws to perform the services provided to the recipients;

              (d) Comply with the applicable state and federal statutes, policies and

              regulations; and

              (e) Not engage in any illegal activities related to the fumishing of services

              or products to recipients.

42 U.S.C. $ 1395, et seq.

       72.    To contract with Medicare, providers must compete a Medicare Enrollment

Application form. "lnstitutional Providers," such as hospitals, nursing homes, and

hospices enroll in Medicare Part A using form CMS 855A. Outpatient "Clinicsi Group

Practices," involved here, however, enroll in Part B using CMS application form 8558

while individual providers enroll in Part B using CMS 855I.
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       73.    Each enrollment application form includes as a condition ofparticipation in

the Medicare Part B program that providers be familiar with and abide by the program's

reimbursement policies and make the following Certification Statement;

             (3) I agree to abide by the Medicare laws, regulations and program
             instructions that apply to this supplier. . . .I understand that
             payment of a claim by Medtcare is condition upon the claim and the
             underlying transaction complying with such laws, regulations and
             program tnstructions . . . and on the suppliers' compliance wtth all
             applicable conditions of participation in Medtcare.


              (6) I will not knowingly present or cause to be presented afalse or
             fraudulent claimfor paynent by Medtcare, and will not submit
              claims with deliberate ignorance or recklex disregard of their truth
              or falsity.

       74.    Accordingly, RehabAuthority had and has a duty to know the statute,

regulations, and guidelines regarding coverage for Medicare seryices.

       75.    Finally, in addition to their enrollment obligations, Medicare Part B

providers must annually execute t}re Medicare Participating Physician or Supplier

Agreement (CMS     -   460):

              The above named person or organization, called "the panicipant, "
              hereby enters into an agreement with the Medicare program to
              accept assignment of the Medicare Part B payment for all services
             for which the participant is eligible to accept assignment under the
              Medicare law and regulations and which are fumished while this
              agreement is in elfect,,,,

       76.    The Agreement further notes that substantial failure to 'ocomply with the

agreement" will cause the Agreement to be terminated and may result in    "[c]ivil   and

criminal penalties."



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         77   ,   Likewise, in order to participate in and receive reimbursement from the

Minnesota Medical Assistance Medicaid program(s), providers must certi$ compliance

with state laws and regulations by initialing each page ofand signing              a   Provider

Agreement.

          78.     By executing the Provider Agreement, the provider certifies that he/shelit

will (a) comply with all federal and state         statutes and rules relating to the delivery    of

services to individuals and to the submission of claims for such services; (b) assume                  full

responsibility for the accuracy of claims submitted to DHS in accordance with the

certification requirements of 42 C.F.R. 455.18 and Minnesota Statutes 2568.27, Subd. 2.;

(c) ensure that the providels employees and contractors comply with all Minnesota

Health Care Programs (MHCP) requirements; (d) maintain records that fully disclose the

extent of services provided to MHCP recipients for a period of five years after the initial

date    ofbilling DHS; (e) ensure proper handling and safeguarding by provider employees,

contractors, and authorized agents ofprotected information collected, created used,

maintained, or disclosed on behalf of DHS; (f) determine the applicability to the provider

of any other state or federal laws and ensure compliance with those laws; and (g) refund

any overpayment made to the provider by DHS. MHCP Provider Agreement, available

at ht     ://edocs dhs .ttate.mn-us/l s e rv e r/ P ub I i ciD HS-4 I 3 8- EN G.

          79.     At all times relevant to this action, Defendant RehabAuthority was a

participating Medicare and Minnesota Medicai Assistance provider.




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            2. Medicare   Su bmission of C ertilied Claims     for Pavment

       80.      To bill Medicare Part B,   a   provider must submit   a paper   form or its

electronic equivalent form to its regional Medicare Administrative Contractor           ('MAC").

A MAC is a private health care insurer that has been awarded          a geographic   jurisdiction to

process Medicare claims. Generally, pursuant to rules promulgated under the 2001

Administrative Simplification Act, claims must be submitted electronically unless certain

exceptions are met, in accordance with CSM, Medicare Claims Processing Manual, ch. 1,

$ 02. Exceptions allowing for submission of paper claim forms include smal1 providers,

defined as those with fewer than ten (10) full-time employees or providers that submit

fewer than ten (10) Medicare claims per month.

       81   .   The tlpe of claim form required to be submitted depends on the type           of

provider submitting the claim. Generally, institutional providers submit 837I, or its paper

equivaien! CMS 1450, also known      as    UB-04, while claims for the services of individual

health care professionals are submitted using 837P, or its paper equivalent CMS 1500,

formerly known as HCFA 1500. These forms describe, among other ttrings, the provideq

the patient, the referring physician, the service(s) provided by procedure code, the related

diagnosis code(s), the dates ofservice, and the amount charged.

       82.      Providers submitting 837I or CMS 1450 certify that the information

provided is "true, accurate and complete" and that the specific services billed on the form

are "medically indicated and necessary" for the specific patient beneficiary involved.

Likewise, providers submitting 837P or CMS 1500 certify that "[s]submission of this



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claim constitutes certification that the billing information as shown on the face hereof is

truo, accurate, and complete."

       83.      At all times relevant to this action, Defendant RehabAuthority and its

employees were participating Medicare providers, and the local carriers that reviewed

and approved the claims at issue in this case based their approval on their review of the

enrollment and claim information provided by RehabAuthority and they relied on the

veracity of those claims submissions.

       84.      RehabAuthority's employees who are participating Medicare providers

include physical therapist ("PTs") and physical therapist assistants ("PTAs").

           3.   Snecific Minnesota and Federal Pavment Reouirements

       85.      Medicare only pays for oocovered services," 42 C.F.R. $ 424.5(a), and

providers must ensure that patient services   "will   be of a quality which meets

professionally recognized standards ofhealth care;' 42 U.S.C. 91320c-5(a)(2).

       86.      Medicare Part B pays for physical and occupational therapy services when

the services are rendered by a qualified physical therapist (PT) or by an appropriately

supervised physical therapist assistant (PTA). See 42 C.F.R. $$ 410.60.

       87.      A physical therapist or physical therapist assistant is "qualified" only   if
they are "legally authorized (if applicable, licensed, certified, or registered) to engage in

the private practice ofphysical [or occupational] therapy by the State in which he or she

practices, and practice only within the scope of his or her license, certification, or

registration." 42 C.F.R. $$ 410.60.



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       88.    Generally, a physical therapy assistant perflorms services planned,

delegated, and supervised by the supervising physical therapist, assists in preparing

clinical notes and progress reports, and participates in educating the patient. 42 C.F.R.   $


484.32. A physical therapy assistant generally holds only a Master's Degree while

phlsical therapists obtain   a Doctorate   of Physical Therapy.

       89.    In the limited circumstance when a physical therapy assistant is directly

supervised by a licensed physical therapist, such physical therapy assistant is, for that

instance, qualified to provide many   ifnot   most of the same services as a licensed physical

tlerapist, with the important exception of the initial evaluation and diagnosis of patients.

       90.    Services provided by physical therapy assistants or non-licensed support

staff may only be fully paid by Medicare as services provided "incident to the service of a

physician (or other practitioner)." 42. C.F.R. $ 410.260). Accordingly, ooonly the

supervising [therapist] may bill Medicare for incident to services." $ 410.26(bX5).

       9l-    Under 42 C.F.R. $ 410.32(bx3xii), for purposes of Medicare

reimbursement:

              Direct supervision in the [outpatient therapy] oflice setting
              means the ftherapist] must be present in the office suite and
              immediately available to fumish assistance and direction
              throughout the performance ofthe procedure. It does not
              mean that the physician must be present in the room when the
              procedure is performed.

       92.     Unlike supervised physical therapy assistants, whose therapy services are

payable by Govemment healthcare programs at the same rate as physical therapists and

the occupational therapists, unlicensed "supportive personnel," variously called


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obchnicians" or
                "trainers,'o are allowed to "assisf' providers by "performing services

incident to physical therapy that do not require professional knowledge and skill," such as

setting up equipment.42. C.F.R. $ 485.713(c). Their services are not payable by

Govemment healtl programs, because tley are not state-licensed providers of therapy

services. Accordingly, their services do not meet Medicare's definition of reimbursable

"auxiliary personnel" incident-to services. 42. C.F.R.    $ 410.26(a)(1).

       93.        Minnesota's Medical Assistance Medicaid program likewise only covers

medically necessary physical therapy services that are provided by physical therapists or

by physical therapy assistants who are directly supervised by licensed physical therapists.

Minn. Stat.   $   2568.0625 subd. 8.

       94.        Minnesota law similarly distinguishes a licensed physical therapy assistant

from unlicensed support staff, referred to therein as a "physical therapy aide" who, when

directly supervised, may only "perform tasks related to preparation of patient and

equipment for treatment, housekeeping, transportatioq clerical duties, departmental

maintenance, and selected treatment procedures." Minn. Stat. $ 148.706 subd. 4.

       95.        Howevern Minnesotaos "direct supervision" requirement for physical

therapy assistant services is less strict than Medicare'so as the supervising physical

therapist is "not required to be on site, but must be easily available by

telecommunications" and is only required to "provide on-site observation of the treatment

and documentation of its appropriateuess at least every six treatment sessions." Minn.

Stat. $ 148.706 subd. 3. A PTA providing delegated services "under the direction      ofa


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physical therapist who is not on the premises shall be reimbursed at 65 percent of the

physical therapist rate."

           4. Outpatient Theranv Billins     and Codins Rules and Resulations

       96.    Outpatient therapy providers bill for their services using the Current

Procedural Terminology (*CPT") coding system adopted in 1983 by CMS as part of the

Healthcare Common Procedure Coding System ("HCPCS"). These codes are a

systematic listing ofprocedures and services performed by healthcare providers and are

used to describe and evaluate the services claimed for reimbursement based generally on

the time and complexity of the service.

       97.    Billing rules for outpatient therapy services are unique in that the Medicare

Claims Processing Manual distinguishes between "time-based" procedures and

(service-based' procedures. CMS, Medicare Claims Processing Manual, ch.5            et seq.


       98.    Service-based procedures include evaluations and certain "unattended"

o'modalities," such as the application ofhot packs or electrical stimulation, and are


limited to one billable unit regardless of total minutes . CMS, Medicare Claims

Processing Manual, ch. 5 et seq.

       99.    Timed procedures include "constant attendance" codes, including some of

the most common therapy services such as therapeutic exercises, CPT 97110; therapeutic

activities, CPT 97530; manual therapy,CPT 97140; gaittraining, CPT 97116; and

ultrasoun4 CPT 97035.

       100.   One-on-one timed therapeutic procedures and services are billed in fifteen-

minute units. Each frfteen-minute one-on-one contact between the physical therapist and

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the patient constitutes one (1) single unit for Medicare billing and payment purposes.

Thus, one unit of CPT code 97110 is properly charged and billed to Medicare programs

for   15 minutes       of direct one-on-one contact, two units is proper for 30 minutes ofone-on-

one contact, and so forth. CMS, Medicare Claims Processing Manual, ch.5 et seq.

         1   01   .   Described in further detail below, face-to-face therapy mirutes are added

up and divided by fifteen (15) to determine the total billable units for a given procedure

code, with an additional unit granted where at least eight(8) minutes        ofa given therapy is

provided, pursuant to the "8-minute ruIe." CMS, Medicare Claims Processtng Manual,

ch. 5 et seq.

         lA2.         Accordingly, Medicare does not pay for physical therapy services

performed by unqualified providers or unlicensed personnel; for work performed by

physical therapist assistants independent of the supervision of a licensed physical

therapist; or, most critically in the instant case, for one-on-one therapy services that either

are not actually provided one-on-one, or are not actually provided at all.

         103.         By virtue of their participation in the Medicare program, Defendants are

charged with the knowledge of these billing codes and requirements.

         1   04.      At all times relevant to this complaint, Defendants were aware of the above

listed statutory and regulatory requirements for claims submitted to Medicare for

palment of physical therapy services.

         105.         Healthcare providers, including physical therapists, are paid under

Medicare only if the healthcare provider assures that:



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                 a.   No claim for an item or service is based upon a code that
                      will provide greater payment than the code which is
                      applicable to the item or service actually provided and;

                 b.   Claims submitted for reimbursement do not make false
                      statements or misrepresentations of material facts.

       106.      Accordingly, RehabAuthorify had a duty to know the statute, regulations

and guidelines regarding coverage for Medicare services.

       107   .   Generally, and by the express terms of the Medicare enrollment

application's Certification Statement, the above payment conditions likewise apply to

claims presented to the Medicaid and TNCARE programs and all other Govemment

healthcare programs involved herein.

Vtt.    FACTUALBACKGROUND

       A. Relator Cami Lane

       108.      Defendant RehabAuthority, LLC hired Relator Cami Lane in January

2010 as the Front Office Coordinator in its Homedale, Idaho clinic.

       109. Initially,     Relator's function was limited to reception and clerical duties,

including greeting patients upon arrival, recording patient contact information, answering

phone calls, working with patients to schedule appointrnents, entering billable charges

into RehabAuthority's MedBill software system ("MBS"), and similar duties.

       I   10.   Approximately one year into her employment with RehabAuthority,

Relator's duties in 2012 grew to include receiving payments from clients, verifuing

patients' insurance, submitting requests for required insurance authorizations, and

conducting weekly "data checks" by manually completing comprehensive reviews            of

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patient accounts to ensure that all information relevant to billing was complete, including

patient name and contact information, required sigratures, insurance provider identity

and authorization information, and billing codes, prior to being sent to Defendant

Premier Billing Solutions for processing and submission to the Government for

payment.

       111.      As RehabAuthority's Homedale, Idaho clinic's Front Office Coordinator,

Relator reported directly to Defendant Matthew Smith ("Smith"), a licensed Physical

Therapist, who was then the head Physical Therapist at Homedale.

       112.      As RehabAuthority-Homedale's head Physical Therapist, Smith

frequently repeated to Relator that patient scheduling must be "perfect," in that patients

had to be scheduled "on the hour," in order to maximize efficiency.

       I   13.   On particularly busy days, Smith instructed Relator as to

RehabAuthority's policy and practice to o'remove" or oohide" the patient sign-in sheet

located at the front desk so that Smith, himself, could write in falsified times. Based upon

Relator's experience with RehabAuthority and on documents she has reviewed she

believes that Smith's instruction to her to remove the patient sign-in sheets to allow the

entry of falsified times was repeated by other head therapists throughout Defendant

RehabAuthority's network of clinics.

       11,4.     Such practice enabled Defendant      RehabAuthority to, at times, at least

partially conceal the double or even triple-booking ofpatient beneficiaries while billing

the Govemment health programs as      if individual   one-on-one therapy had acfually been

provided.

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         115.      Double-booking patients was the only way to maintain the euphemistic

"effrciency'' Smith demanded, and although he ostensibly indicated at times that he

preferred patients not be double-booked, he ultimately praised Relator's scheduling work

when she did so.

         116.       From then on, Relator became the "go-to" Front Offrce Coordinator for

Smith and other upper-level RehabAuthority management, such          as   Defendant Chief

Administrative Officer Nichole Walker. Relator's duties and access were then

significantly widened to include working with a computer programmer to build and

launch the company's intemal scheduling and MBS patient account software, which was

a   platform developed by Defendant Premier Billing solutiors and then implemented and

customized for RehabAuthority with Relator's general assistance.

         ll7   .   In September 2012, Relator sought and obtained permission from

RehabAuthority's Chief Administrative Officer Nicole Walker to work part-time from

home for about 30 hours weekly. Her duties were then limited to the above-described

"data checkso" which Relator performed remotely for each of RehabAuthority's clinics in

addition to providing regular assistance to other clinics' Front Office Coordinators. To

perform her duties, Relator had complete round-the-clock access to Defendant

RehabAuthority's computer network, including patient records.

         I   18.    Between 2012 and20l6. Relator started to become generally familiar with

the Medicare and Medicaid billing rules tlrough her scheduling and "data check"

responsibilities. She understood at that time that double-booking technically is nol

prohibited per se and that therapy services are billed in timed and untimed units, with 8-

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15 minutes     of one-on-one therapy time constituting the former. CMS, I I Part B Billing

Scenarios   for PTs and ATs, (Sept. 2009), available at

h   s://www.cm         v/Medicare/Billi      era    Services/downloads/   1   I   Part   B Bilt
Scenarios    for PTs and    OTs.odf.

       119.      In late November 2076, RehabAuthority assigned Relator to           a   project that

ultimately raised her suspicions of potential Medicare fraud.

       nA. RehabAuthorityos Chief Financial Officer Stacey James instructed Relator
in Iate November 2016 via email to help RehabAuthority and Premier Billing Services

"clean house" by using her "super sleuth skills" to manually identifu overpayments

received from insurers, including Medicare and Medicaid, so that Premier Billing

                                                            ooremove"
Service's Chief Executive Officer, Defendant Amy Roe, could           them from

RehabAuthority's billing records. This directive was made for the purpose of concealing

the overpayments from Govemment auditors and thereby evade their repalment

obligations.

       l2l.      Relator completed the removal project described above in February 2017.

       122.      In June 2017, Relator was informed by RehabAuthority's Chief

Administrative OIIicer, Defendant Nicole Walker, that Relator's position was being

eliminated because "data checks" would no longer be needed once an Electronic Medical

Records "(EMR") system was implemented in the summer of 2017.

       123. At tlle same time in June 2017, Defendant       Nicole Walker encouraged

Relator to review the MedBill software system and "think about what kind of other roles"

Relator might be able to fil1. Thinking that she may be a fit for a compliance-related role,

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Relator, who had recently completed a brief certification/continuing education seminar

on Medicare billing rules for physical therapy, began reviewing RehabAuthority's billing

sofhvare and records for areas with potential compliance challenges where     tle skills   she

developed as a "data checkey'' might be put to use even after the transition to EMR.

       124.     During this review, Relator discovered proof of what she came to

understand is a systemic, large-scale healthcare fraud scheme against the taxpayers ofthe

United States and the State of Minnesota.

       B. Defendantst Organizational Structure

       125.     Founded in 1999 by current ChiefExecutive Offrcer, Defendant Kevin

Hulsey as a single clinic in Nampa, Idaho, RehabAuthority has expanded rapidly in the

last seventeen (17) years and now employs over 100 employees, including over thirty

(30) licensed Physical Therapists, five (5) Physical Therapy Assistants, and over   fifty
(50) support and administrative staff with eighteen (18) locations in four (4) states: Idaho,

eleven (11) clinics; North Dakota, four (4) clinics; Mimesota, two (2) clinics; and

Wyoming, one (1) clinic.

       126.     Defendant RehabAuthority's corporate office is located in Meridian, Idaho,

a suburb   ofBoise, Idaho.

       127,    Today, Defendant RehabAuthority exists as an amalgamation of at least

sixteen (16) limited liability companies. Originally incorporated by Defendant Kevin

Hulsey in April 1999 as RehabAuthority, PLLC, the company had just the single clinic

headquartered at the Nampa, Idaho location.




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         128.   Defendant RehabAuthority began its corporate reorganization in 2001,

when Hulsey opened new clinics in Homedale, Idaho and in Boise, Idaho.

         1,29. 1n2002, Defendant Kevin Hulsey dissolved RehabAuthority PLLC;

separately incorporated his two new clinics as RehabAuthority - Eagle Road, PLLC, now

Defendant RehabAuthority Eagle, LLC, and Defendant RehabAuthority Homedale, LLC,

respectively. He also re-incorporated his primary Nampa, Idaho location as

RehabAuthorityNampa, LLC; and incorporated a holding company, Defendant H.

Corp., as a member of these three (3) individual limited liability corporations.

         130.   Defendant Hulsey has continued this pattern of incorporation, separately

incorporating a new limited liability company for each new RehabAuthority clinic

location, including eight (8) new Idaho clinics from 2002 to 20171, four (4) North Dakota

clinics from 2017 to20l7; two (2) Minnesota clinics in20l4; and a Wyoming clinic rn

2017.

         13i.   RehabAuthority's rapid growth, set forth above, has been built, at least in

part, on the backs of the taxpayers through fraudulent billing to Govemment healthcare

progmms

         132.   Despite the fagade of different corporate entities, RehabAuthority functions

as a   single corporate entity.

         133.   Each clinic is    thidy stafled, commonly owned, and operated   under the

same set of   RehabAuthority policies and practices. Additionally, while the providers at

each clinic are delegated some management authority over the day-to-day clinic




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operations and support staff, all clinics and all employees ultimately report and are

subject to the decisions made by RehabAuthority's central corporate management.

       134. RehabAuthority           corporate is organized with three (3) regional managers

who in tum report to Defendant Kevin Hulsey and four (4) corporate officers: Chief

Operating Officer, Defendant Galen Danielson, and his sister, Chief Administrative

Officer, Defendant Nichole'oNikki'Walker, a licensed Physical Therapist; Chief

Human Resources Officer, Defendant Adam Cope, a licensed Physical Therapist; and

Chief Practice Officer, Defendant Matthew Smith, a licensed Physical Therapist, who is

also the Regional Dfuector for ooRegion 1," which includes seven (7) eastem ldaho clinics.

       135.      Defendant Adam Cope is the Region 2 Director, which includes the two

Idaho Falls and the Meridian, Idaho clinics. Eldon Johnson, is the Region 3 director,

which includes the four (4) North Dakota clinics, the two Minnesota Clinics, and the

Cheyenne, Wyoming clinic.

       I   36.   Except for one, all of the RehabAuthority Regional Directors are also

RehabAuthority corporate oflicers based primarily out of RehabAuthority's "corporate

office," on South Carol Street in Meridian, Idaho, which is not an active treating clinic.

The exception is Eldon Johnsono who is iisted on RehabAuthority's directory as a

Physical Therapist practicing out of the Autumn Fields clinic in Fargo, North Dakota, and

he is self-identified online as an   "ownef' of that clinic.

       137.      According to Idaho Secretary of State business entity records, Defendant

Galen Danielson became a member of RehabAuthority, LLC in 2003; Defendant



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Cope joined in 2004-2005: and Defendants Walker and Smith joined in 2007 through

their respective holding companies, Defendants Nikk Inc. and Crazy Bear Tooth Inc.

       138. In2007,Defendant        Hulsey, at all times the managing member    of

RehabAuthority, LLC, moved the company headquarters out of the Nampa, Idaho clinic

to offrces in Meridian, ldaho, ultimately settling in 2013 on their current headquarters on

South Carol Street. Also in 2013, Hulsey incorporated Defendant Idaho Rehabilitation

Partners, LLC, with Califomia-based Defendant Physical Rehabilitation Network,

LLC   as its managing member. In February 2014, Defendant Idaho       Rehabilitation

Partners, LLC,   a   privately held therapy organization that provides sfieamlined

"overhead activities" thmugh its "partnership model," became the managing member          of

each individual location-specific clinic LLC.

       139.   This ownership structure allows the principal owners and executives    of

RehabAuthority, namely Hulsey, Danielson, Cope, Smith, and Walker, to exercise

complete control over RehabAuthority's management, operations, and finances through

RehabAuthority, LLC while incentivizing physical therapists, such as Defendant

executive Mathew Smith early in his tenure with the company and current Regional

Director Eldon Johnson, to maximize their clinics' revenue by offering the profit sharing

that comes with ownership in the individual LLCs and/or partnership in RehabAuthority,

LLC

       140.   Nonetheless, the primary corporate entity is RehabAuthority LLC, which

collects the revenue from the individual clinics, maintains the corporate office, and, until

2015, paid the employees ofthe individual clinics. Since 2015, RehabAuthoriry"s payroll

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has been ou8ourced to Amlease Corp., a Florida-based contractor            for Physical

Rehabilitation Network, LLC.

             l4l.   As of June 20 17, RehabAuthority LLC employs at least 88 people across

1   7- 1 8   clinics, including about thirty-one (3 1) physical therapists, thirg-two (32)

rchabilitation technicians, five (5) physical therapy assistants, and nineteen (19) Front

Offrce Coordinators.

             142. With the exception of its two (2) largest    clinics, Sunnyside Clinic in ldaho

Falls and Thief River Falls, Minnesota which respectively have four (4) and five (5)

therapists on staff RehabAufhority keeps payroll down and profits high by staffing their

clinics as leanly as possible. Seven (7) of the clinics have just one       (I   ) physical therapist

and eight (8) clinics have only two (2) physical therapists.

             143. RehabAuthority       employees are interchangeable / transferrable within their

geographic regions, and physical therapists occasionally treat patients at other

RehabAuthority clinics in addition to their regularly assigned clinics.

              144, RehabAuthority      corporate officers, particularly Regional Director and

Chief Practice Officer, Defendant Matthew Smith, often treat patients at several clinics,

including the newer clinics in Minnesota, in order to "show" their subordinate Physical

Therapists how to treat patients "effrciently," thereby training them to commit fraud by

double or        fiple booking patient beneficiaries while billing for services    as   if   each patient

beneficiary were seen individuaily.

              145. After   negotiations beginning no later than 201 3, Defendant Idaho

Rehabilitation Partners, LLC, the parent company for RehabAuthority, LLC was

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acquired by Carlsbad, Califomia-based Defendant Physical Rehabilitation Network,

LLC,   an outpatient physical therapy organization that provides overhead   support-such

as pay,roll,   accounting branding, human resources, and electronic medical records-while

allowing local autonomy to affiliated ou@atient physical therapy providers in Califomia,

Colorado, Nevada, Texas, and Washinglon.

        146.     Bruce McDaniel is the Chief Executive Offlcer of Defendant Physical

Rehabilitation Network, LLC.

        147. Although Physical Rehabilitation Network, LLC         purchased a significant

interest in its parent company, RehabAuthority, LLC continues to do business under its

own name and management. Defendant Kevin Hulsey remaias CEO            of

RehabAuthority. RehabAuthority's President of Practiceo Education & Research,

Defendant Matthew Smith, and Chief Human Resource Officer, Defendant Adam

Cope, in addition to their day-to-day RehabAuthority duties, have been respectively

elevated to Defendant Physical Rehabilitation Network,      LLC's Chief Compliance

Officer and Lead Recruiter.

        C. Defendants 'Ope          nal Structure

         148.     Defendant Galen Danielson serves as Chief Operating Officer   of

Defendant RehabAuthority, LLC. In this capacity he, along with Public Relations

Director Eric Stone, drives RehabAuthority's focus on patient-visit maximization

through aggressive relationship-based, word-of-mouth, marketing activities and

employee incentive compensation programs. As of August 2017, Danielson also serves as



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Physical Rehabilitation Network's Regional Vice President of Operations for the

Mountain Region, which includes Idaho, Minnesota, North Dakota, Wyoming, and Utah.

       149. RehabAuthority         keeps close track ofthe number of referrals and overali

patient beneficiary visits each physical therapist at each clinic generates. The number     of

referrals and visits in tum directly impacts provider compensation. Since each clinic is

separately incorporated as a limited liability company, Defendants Danielson and

Hulsey offer equity and profit-sharing to physical therapists for the clinics in which they

work when specified revenue and patient visit benchmarks are met.

       150.        In addition to direct financial incentives, Defendants CEO Hulsey and

COO Danielson design "games" designed to further incentivize revenue generation
                                                                                       o'
through employee competition, granting physical therapists and clinics "points" for

Relationship Development Activities," such as "handshakes" with "MD's, DO's, NP's

[and] PA's" and social media marketing; "Clinic Performance (Referral Increases,

Visits)"; and "Breaking Records."
                                                                           oopoints"
       151.   The physical therapists, employees and clinics with the most           in

those categories receive cash prizes. For example, the providers with the most "points"

from October 31, 2016 to Jarr.;ary 27,2017 received a $1,000 cash pay'rnent, followed by

$750 for the highest scoring Front Office Coordinators ("FOCs") and $500 for the

highest scoring technicians.

       152.    RehabAuthority financial contests include no measure or points for quality

of patient care.



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        153.       In contrast to its well-developed marketing and incentive programs,

RehabAuthorit;r's      case management and medical record systems are rudimentary and

poorly monitored, as all providers' billing records are initially hand-written on paper and

then manually entered into its software system by the Front Office Coordinators, whose

attention to detail and/or willingness to participate in the fraud is RehabAuthority's sole

intemal "compliance" mechanism.

        154.    Providers at RehabAuthorify create two (2) types ofrecords for each

complete patient visit: a ooflow sheet" and a "visit note," also known as a "SOAP" note,

meaning a subjective, objective, assessment, and plan note.

        155.   The flow sheet constitutes the billing record for five (5) patient beneficiary

visits per sheet. At the top ofthe flow sheet is the patient's name, insurance provider,

initials ofthe provider ofrecord, and a general description ofthe part of the anatomy and

ailment treated.

        156.   The flow sheet also contains a simple chart, with columns labeled at the top

according to the dates of services and rows labeled on the right-hand side with the

various therapeutic exercises and activities available. The provider then handwrites in the

corresponding box at the bottom of column for each visit, the number of minutes a given

therapy was provided on the given day to the patient beneficiary. The entries are

generally entered in inlq with errors scratched out, fixed, and initialed. Also in the bottom

box, the provider records any manual therapy or modalities provided before calculating

and circling the total number of units to be billed, initialing the "Time-In" and "Time-

Out-"

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       157.   In contrast, the visit note constitutes the medical record, or chart notes,

generated during a patient beneficiary visit and is referred to as a   "SOAP' note because

it is organized into notes on the subjective and objective observations of the patient's

complaints, condition, symptoms, and progtess, along with the physical therapist's

assessment and plan.

       158. A patient beneficiary's    SOAP note is typed, with a pre-populated signature

block indicating the name of the beneficiary's physical therapist of record, i.e. the

therapist to whom the patient was referred and/or assigned.   If the patient is seen by a

physical therapy assistant under the supervision of the licensed physical therapist     of

record, the assistant initials the SOAP note for that visit above the therapistos name. Each

SOAP note is password-protected, and only the therapist of record knows the password.

       159.   Every moming, either a Front Office Coordinator ('FOC") or a Technician

prepares a blank flow sheet for each patient scheduled to be seen on that day. As each

patient beneficiary arrives, the FOC fills in the basic identifying information about the

patient beneficiary and gives the flow sheet to the provider. Upon completion ofthe visit,

(and occasionally during the visit) the provider fills out the flow sheet according to the

number of minutes of each type of therapy, totals t}te minutes, writes the number of units,

and returns the flow sheet to the FOC. The FOC then accesses each patient beneficiary's

electronic MBS account, selects "add charge," and manually enters each billable therapy

unit, transcribing directly from the providers' flow sheets, into RehabAuthority's overall

corporate billing and case management slstem, MedBill Solutions ("MBS") software.




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        160.   Then, every Wednesday moming, Defendant Premier BilIing Solutions, a

local Boise-area medical billing company founded and managed by its Chief Executive

Ofiicer, Defendant Amy Roe, uses its simultaneous             access to   MBS to process the units

entered by FOCs and submit them as claims for payment. This final step is completed

using the "Admin" function of the MBS system, to which Defendant Premier, and not

FOC's, has access, and which allows Defendant Premier Billing Solutions to process

claims and handle denials and other reimbursement issues,

        161.   The MedBill Solutions software system was designed specifically for

Defendant RehabAuthority with assistance from Defendant Premier Billing Systems,

a contracted computer programmer, and     Relator Cami Lane.

        162.   Front Office Coordinators enter patient beneficiary information into the

MedBill Solutions system which then assigns          a   unique "account code', for each

beneficiary. Within each patient beneficiary account is a left-hand menu of tabs which,

when clicked, take the Front Office Coordinators to labeled subfolders including:

"Personal Data," o'Marketing," "Responsible Party," "Diagnosis," ,.Insurance,,'

                                                              SOAps," ,.plan of Care Requests,"
"Financial," "Financial Statistics," 'Notes,"   ooEvals,"


"Patient Responsibility Calculator," "Review Payments," "Statements," and..Clone

Patient."

       163.    Each patient beneficiary's "Financial Statistics" MBS subfolder contains a

record ofeach date ofservice, the cPT codes with a description of the therapy provided,

any modifiers, and the amounts paid and./or owed by the beneficiary and/or Medicare or

other Government healthcare plan. when a particular date of service is selected, a box

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pops up on the right-hand side ofthe screen, identifying the units billed and the

healthcare plan.

        164.   A11   of the data in the Financial Statistics subfolder is manually entered by

Front Office Coordhators direcfly from the handwritten flow sheets. The data is then

compiled in MBS and elechonically forwarded to Defendant Premier Billing Solutions

for preparation and submission of claims for payrnent by Govemment healthcare

programs.

        165.   Defendant RehabAuthority has no in-house billing departmen! coding

experts, compliance officers, or other biiling professionals to act as intermediaries with

Defendant Premier Billing Solutions. Instead, Defendant RehabAuthority relies

solely on its Front Office Coordinators who receive billing directives from CAO Nikki

Walker and CFO Stacey James and directly from Defendant Premier Billing Solutionsn

CEO AmyRoe.

        166.   According to its website, Defendant Premier Billing Solutions charges

five (5) to eight (8) per cent oftotal payrnents received through its services and boasts

that it has "one of the highest collection rates in the Treasure Valley [Idaho]."

        167.   Defendant RehabAuthority is one of Defendant Premier Billing Solution'

largest and most iucrative clients by a large margin.

YIII.   DEFENDANTS' FRAUDULENT CONDUCT

        A. Introduction to Defen dant RehabAuthoritv's Multinle Fraud            Sc hemes

        168.   As introduced above, RehabAuthority's rapid expansion has been fueled

by its focus on fraudulent billings to obtain payments from the Govemment for services

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that'trere not rendered as documented. Defendant RehabAuthority's overbilling fraud

scheme is built on double and triple booking Govemment beneficiaries and fraudulently

documenting more billable units than could have possibly been provided to each

beneficiary individually.

       169.   As described in detail above, the Medicare billing rules simply require that

therapy only be billed as one-on-one    if actually provided   as such and reflects the fact

that, just as there are only so many hours in a day, a physical therapist can only   truthfully

bill a finite number of l5-minute units per therapy visit.

       170.   To facilitate its primary fraud scheme of double and triple booking

beneficiaries' physical therapy sessions, Defendant RehabAuthority augments and

compounds its fraudulent scheme by enlisting nonJicensed personnel to attempt to

provide physical therapy services.

       l7l.   Defendant RehabAuthority requires its non-licensed personnel, primarily

the rehabilitation technicians, but also at times even the Front Office Coordinators, to

provide both timed and untimed services while the physical therapists are occupied with

other patient beneficiaries. And, to fraudulently bilk the govemment, Defendant

RehabAuthority then bills the nonJicensed individuals' "services"      as   if the physical

therapy had actually been performed by a physical therapist or physical therapy assistant

under a physical therapists' direct supewision.

       172.   Defendant RehabAuthority also engages in additional fraudulent schemes

including I ) the waiver of copayments and deductibles   as a kickback to attract patients,




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2) unbundling ofpaired CPT codes without supporting documentation, and 3) the

knowing and planned retention of Government overpayments.

           B. RehabAuthoritv's Overb illins Scheme: Submittine Claims for One-on-
              One Theraov Units No t Actuallv Provided

              1.   General Descri nfion

           173.    Medicare's outpatient therapy billing requirements are designed to ensure

that the Government is getting what it pays for pursuant to its contracts and the

certifications it requires for payment. Accordingly, "the total number of timed l5-minute

units that can be billed by the physical therapist, whether performed by the therapist or

licensed physical therapy assistant for each patient is constrained by the total time of the

skilled therapeutic one-on-one intervention by the therapist or therapy assistant." CMS,

1   I Part B Billing Scenarios for   PTs and OTs, (Sept. 2009,           available at

httos://www.cms.eovi Medica       rei B   illins/Th erauvServicesi down loads/ I I Part   B Billine
Scenari os    for PTs and     OTs.odf.

           174.    Nonetheless, Medicare provides for some flexibility in the calculation       of
oodirect                                   ooone-on-one,"
           contact" units, meaning tlre                     "constant attendance" billable therapy

units for time-based services, through what is commonly referred to as the "eight-minute

rule," which is illustrated in the following chart:

                               8 - 22 minutes                 1   unit
                               23 - 37 minutes        2 units
                               38 - 52 minutes        3 units
                               53 - 67 minutes        4 unils
                               68 - 82 minutes        5 units
                               83-97 minutes          6 units
                               98-112 minutes         7 units
                               ll3-127 minutes        8 units

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         175.      Under the 8-minute rule, one-on-one treatrnent must be provided for at least

a   minimum of eight (8) minutes in order to be entitled to Medicare payrnent. Medicare

simply adds up the total minutes of one-on-one therapy, divides the total by fifteen (15),

and   if eight (8) or more units remain,   an additional unit may be billed.   If not, an

additional unit is not eligible for payment. CMS,, Medicare Claims Processing Manual,

ch. 5 $$ 2A.2;2A3 (Dec.2,2016).

         116.      However, CMS's "expectation based on the work values for the codes is

that a provider's direct patient contact time for each unit   will   average 15 minutes in

length fand provider's with] consistent practice of billing less than 15 minutes for a

unit... should be highlighted for review." CMS, Medicare Claims Processing Manual,

ch. 5 g 20.2 (Dec. 2,2016).

         177   .   Thus, although some math is required to translate therapy minutes into

billable units, the rules simply require that "[p]roviders report the code for the time

actually spent in the delivery of...therapy services" and that "the time counted is the time

the patient is treated." CMS, Medicare Claims Processing Manual, ch. 5 $ 20.3 (Dec. 2,

2016).

         178.      These rules apply regardless of whether or not patient beneficiaries are

double or triple booked. For example, if one therapist individually treats two (2) patients

for equal periods of time in an hour, the most timed units he/she may bill for Medicare

payment is four (4) units: two (2) for the first beneficiary and two (2) for the second

beneficiary

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       179.   The physical therapist may divide the minutes in whatever way works best,

moving back and forth between the beneficiaries to provide the various services o but the

Jinal calcuhrton of total minates and billable units remuins the same regardless of that

division between beneficiaries One hour always results in     a   maximum of four (4) units

regardless ofhow divided among beneficiaries.

       180.   Defendant RehabAuthority knowingly and brazenly submits fraudulent

billing to the Govemment to obtain double or triple payment for the same period of time

when multiple beneficiaries receive treatments simultaneously by the same Physical

Therapist.

       181. RehabAuthority       keeps all meters running simultaneously for beneficiaries

who have started their appointment but who, at various times, are either (1) performing

an exercise or activity unattended, waiting for the provider to retum to them, (2) sitting

unattended, waiting for the physical therapist to retum to them; or (3) being serviced by a

"therapy technician" or other person not licensed or credentialed to provide actual

therapy services for purposes of Medicare payment.

       182.   Both RehabAuthority corporate management, like Defendant COO

Galen Danielson, who actively push for a level of patient visit maximization only

possible by double and triple booking, and Premier Billing Services, which reviews and

submits the claims for pal.rnent, are fully aware that this practice is fraudulent, but they

both nonetheless perpetuate the scheme to fraudulently bill the Govemment and to extract

payment for services that have not, in fact, been actually performed.




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         1   83.   RehabAuthority physical therapists neither bill for group therapy, CPT

code 971 50, nor possess the ability to be in trvo places at once, rendering their flow sheet

records and the corresponding claims for services irreconcilably false and fraudulent.

         184.      The fraud is so common and so wide-spread throughout all    of
RehabAuthority's facilities that the examples in the paragraphs below involving

Medicare beneficiaries are but illustrative of the full extent of this foaud and they

underscore the fraud's longstanding uniformity at clinics in each of RehabAuthority's

regions that is practiced as a corporate-\ryide and corporate-directed scheme.

         185.      The flow sheets containing these records are given by the Physical

Therapists to the individual clinic's Front Office Coordinators, who then enter the CPT

codes, dates of service, and total units into RehabAuthority's MedBill (MBS) system for

electronic transfer to Defendant Premier Billing Solutions, where they are processed and

submitted for payment.

         186.      As illustrated above, when a RehabAuthority Physical Therapist double-

books two (2) beneficiaries for the same hour of treatrnent and bills each for four (4)

unis, the resulting claims constitute double billing in that RehabAuthority i$ billing for

twice what Medicare would pay if it knew the therapy was not provided.

         187.      As also illustrated above, double-booked patients are often "staggered,"

with   a second    patient's treatment beginning mid-way or part-way through another

patient's treatment. In these cases, each patient may receive only up to 7 5Yo of   thet

therapy one-on-one, while the Physical Therapist bills eight (8) units where only six (6)

united are actua11y provided.

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       188.   This double-booking and overlapping scheduling is a routine practice

resulting from the pressure, carrots and sticks put on the Physical Therapists by

RehabAuthority management, as the games and incentives designed to increase patient

visits do not distinguish between visits that are one-on-one and those that are effectively

"shared" with another patient.

       189.   Moreover, this practice is widespread and has been in place since at least

2010 and is continuing. The examples below are representative ofthousands      of

identically false claims to government healthcare providers and milliors of dollars in

reimbursement.

       190.   Likewise, Defendans' billing practices do not distinguish between simply

being in the same gym as a provider and actually receiving billable one-on-one

therapy, to the tune ofhundreds ofdollars per visit since at least 2010. ln 2016 alone,

RehabAuthority saw nearly 70,000 patients total across each of its clinics. Of these visits,

nearly 21,000 were Medicare beneficiaries.

       l9l.   RehabAuthority as a matter ofpolicy does not schedule patients for less

than one hour and, as ofJuly 2017, employed twenty-five (25) licensed providers. In

2016 an average RA therapist provided approximately 2,760 visits. The average RA

clinic is open 4l hours per week. Accordingly, even   a   rough calculatiorq assuming a

weeks' vacation and ignoring the fact that many visits last over an hour, indicates that the

average RA provider schedules between 7,29 and I.36 hourJong visits per       hour-
confirming what Relator has observed as RehabAuthority's routine practice ofdouble-



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booking patients and double-billing for one-on-one therapy services that Defendants did

not-and indeed, could not-flovide.

       192.     Nonetheless, rather than shoulder the expense ofhiring additional providers

to staff its growing number of clinics and to ensure that patients receive the one-on-one

therapy they and/or their insurers are payng for, RehabAuthority instead cheats its

beneficiaries and the Govemment and pushes its providers to continue juggling double-

booked patients, moving back and forth from patient to patient while billing each for

"constant attetrdance" codes, or, as described below, occasionally plugging the gap in

theil presence by directing unlicensed, untrained, andlor non-credentialed staffto either

watch the abandoned patient or, in some cases, actually provide therapy. Either way, the

physical therapist falsely documents and bills for the therapy as   ifit   had been provided by

a licensed   provider.

             2. Minnesota
       193.     On April 4, 2017 at the Thief River Falls, Minnesota clinic,

RehabAuthority Physical Therapist Kim Rosendahl recorded in his flow sheets the

times and total minutes he purportedly treated both Medicare Beneficiaries J.B. and B.R.

as 8:59 a.m.   to 10:07 a.m. and 9:00 a.m. to 9:59 a.m., respectively. Rosendahl

documented in Beneficiary J.B.'s flow sheet that he provided four (4) units oftherapeutic

exercise and one (1) unit of therapeutic activity and billed a total   offive (5) timed units.

However, Rosendahl also billed four (4) timed units, three (3) oftherapeutic exercise and

one (1) ofneuromuscular reeducation for Beneficiary 8.R., whose flow sheet indicates

Rosendahl provided fifty+hree (53) minutes of therapeutic exercise and eight (8) minutes

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of neuromuscular reeducation. Thus, Rosendahl billed eieht (8) units during the sixty (60)

minutes the beneficiaries were double-booked, nvice the allowed amount.

         194.     On April 3,2017 in the Thief River Falls, Minnesota clinic,

RehabAuthority Physical Therapist Stephanie Weyauch recorded in her flow sheets the

times and total minutes she purportedly treated both Medicare Beneficiaries S.B. and

A.C.,   as   2:00 p.m. to 3:00 p.m. and l:59 p.m. to 3:06 p.m., respectively. Weyrauch

documented in Beneficiary S.B.'s flow sheet that she provided an initial evaluation, two

(2) units of neuromuscular reeducation and one (1) unit of therapeutic exercise and billed

four (4) units. However, Weyrauch also billed four (4) units, tbree (3) therapeutic

exercise and one (1) gait training, for Beneficiary A.C., whose flow sheet indicates

Weyrauch also provided after an eight (8) minute warmup, fifty-one (51) minutes          of

therapeutic exercise and eight (8) minutes of gait training. Thus, Weyauch billed eight

(8) units, or a minimum of two (2) hours during the sixty (60) minutes the beneficiaries

were overbooked, twice the allowed amount, and including time when she was

purportedly evaluating Beneficiary S.B. behind closed doors, per RehabAuthority routine

practice.

         195.     On October 20, 2016 in the Thief River Falls, Minnesota clinic,

RehabAuthority Physical Therapist Kim Rosendahl recorded in his flow sheets the

times and total minutes he purportedly treated both Medicare Beneficiaries A.C. and A.T.

as   9:58 a.m. to I I :00 a.m. and l0:00 a.m. to I I :00 a.m., respectively. Rosendahl

documented in Beneficiary A.C.'s flow sheet that he provided three (3) units        of

therapeutic exercise and two (2) units ofmanual therapy and billed a total      offive (5)
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timed units. However, Rosendahl also billed four (4) timed units, three (3) of therapeutic

exercise and one   (l)   of manual therapy, for Beneficiary A.T., whose flow sheet indicates

Rosendahl provided, after a six (6) minute wann-up, forty-seven (47) minutes       of

therapeutic exercise and eight (8) minutes ofmanual therapy. Thus, Rosendahl billed nine

(9) units during the sixty-two (62) minutes the beneficiaries were double-booked, more

than twice the allowed amount.

       196.     On March 27, 2015 in the Thief River Falls, Minnesota clinic,

RehabAuthority Physical Therapist Kim Rosendah-l recorded in his flow sheets the

times and total minutes he purportedly feated both Medicare Beneficiaries L.B. and O.B.

as 10:45 a.m. to l1:53 a.m. and 10:49 a.m. to 12:09 a.m., respectively. Rosendahl

documented in Beneficiary L.B.'s flow sheet that he provided two (2) units of therapeutic

exercise and two (2) units of neuromuscular reeducation and billed a total of four (4)

timed units. However, Rosendahl also billed four (4) timed units, two (2) of therapeutic

exercise, two (2) ofneuromuscular reeducation, and one (1) unattended modality, for

Beneficiary O.B., whose flow sheet indicates Rosendahl provided thirty-five (35) minutes

of therapeutic exercise, ten ( 10) minutes of a vasopneumatic modality, and twenty-seven

(27) minutes ofmanual therapy. Thus, Rosendahl billed eight (8) units during the sixty-

four (64) minutes the beneficiaries were double-booked, twice the allowed amount.

       197.     On February 13,2015 in the Thief Nver Falls, Minnesota clinic,

RehabAuthority Physical Therapist Kirn Rosendahl recorded in his flow sheets the

times and total minutes he purportedly treated both Medicare Beneficiaries C.L. and J.K.

as 8:55 a.m.   to 10:05 a.m. and 9:00 a.m. to 9:55 a.m., respectively. Rosendahl
                                                <a
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documented in Beneficiary C.L.'s flow sheet that he provided three (3) units    of

therapeutic exercise and one (1) unit of neuromuscular reeducation and billed a total   of

four (4) timed units. However, Rosendahl also billed four (4) timed units, three (3)   of

therapeutic exercise and one (1) of neuromuscular reeducationo for Beneficiary J.K.,

whose flow sheet indicates Rosendahl provided forty-one (41) minutes of therapeutic

exercise and ten (10) minutes of neuromuscular reeducation. Thus, Rosendahl billed

seven (7) units during the   fifu-five (55) minutes the beneficiaries were double-booked,

nearly twice the allowed amount.

       198.   On March 29,2017 in the Moorhead, Minnesota clinic, RehabAuthority

Ph:,sical Therapist Kristopher Peterson, recorded in his flow sheets the times and total

minutes he purportedly treated both Medicare Beneficiaries J.G and P.R, from l:30 p.m.

to 3:00 p.m. and 2:00 p.m. to 3:00 p.m., respectively. Peterson documented in

Beneficiary J.G.'s flow sheet that he provided, after a frve (5) minute warmup' eighty-

four (84) minutes oftherapeutic exercise, neuromuscular reeducation, and manual

therapy and billed five (5) total units. However, Peterson also billed four (4) units, three

(3) therapeutic exercise and one (1) manual therapy for Beneficiary P.R., whose flow

sheet indicates Peterson also provided, forty-two (42) minutes of therapeutic exercise and

fifteen (15) minutes of manual therapy. Thus, Peterson billed least seven (7) units

during the sixty (60) minutes the beneficiaries were double-booked-almost double the

allowed amount.

       199.   On April 7,2017, in the Moorhead, Minnesota clinic, RehabAuthority

Physical Therapist Aaron Sorvig, PT, recorded in his flow sheets the times and total

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minutes he purportedly treated both Medicare Beneficiaries A.B. and G.J., flom 8:50 a.m.

to l0:10 a.m. and 9:30 a.m. to 10:30 a.m., respectively. Sorvig documented in

Beneficiary A.B.'s flow sheet that he provided forg-five (45) minutes of therapeutic

exercise, and nineteen ( I 9) minutes of neuromuscular reeducation and billed four (4)

units. However, Sorvig also billed six (6) units, three (3) therapeutic exercise, one manual

therapy, one ultrasound, and one electric stimulation for Beneficiary G.J., whose flow

sheet indicates Sorvig provided, forty-nine (49) minutes of therapeutic exercise, twenty

(20) minutes of manual therap5 ten (10) minutes ultrasound, and fifteen (15) minutes           of
electric stimulation. Thus, Sorvig billed ten (10) units in one hundred forty (i40) minutes,

with six (6) units billed during the sixty (40) minutes that the patient beneficiaries were

double-booked.

            200.   On November 71,2016, in the Moorhead Minnesota clinic,

RehabAuthority Physical Therapist Kristopher Peterson, PT, recorded in his flow sheets

the times and total minutes he purportedly treated seven (7) Medicare Beneficiaries-

E.L., G.B., J.H., J.M., J.W., R.A., and K.F.-from 7:22 a,m. to I I:55 a.m., with a

different patient arriving approximately every half hour. According to each Beneficiaries'

flow sheet completed by Peterson, he provided three (3) units of therapeutic exercise and

one   (l)   unit of manual therapy to each Beneficiary, except for Beneficiary J.W., who

purportedly received four (4) units of therapeutic exercise, and, in J.H and K.F' cases, a

fifth unit of neuromuscular reeducation. Thus, Peterson billed thirty-one units in   a   two

hundred seventy-tlree (273) minute period for which the maximum amount of billable

individual therapy units is eighteen (18).

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       2Al.   On August 1,2016, in the Moorhead, Minnesota clinic, RehabAuthority

Physical Therapist Kristopher Peterson, PT, recorded in his flow sheets the times and

total minutes he purportedly treated both Medicare Beneficiaries H.W. and B.A. from

9:30 a.m. to l0:45 a.m. and 9:45 to l0:50 a.m., respectively. Peterson documented in

Beneficiary H.W.'s flow sheet that he provided at least fifty-one (51) minutes   of

therapeutic exercise and twenfy-five (25) minutes of manual therapy and accordingly

billed five (5) units to the Govemment. However, Peterson also billed two (2) units     of

therapeutic exercise, and single unit ofboth neuromuscular reeducation and manual

therapy, whose flow sheet indicates Peterson provided, after a five (5) minute bike warm-

up, fifteen (15) minutes of manual therapy and at least thirty-three minutes oftherapeutic

exercise and eight (8) minutes ofneuromuscular reeducation. Thus, Peterson billed nine

(9) timed units of therapy services in eighty minutes (80), a time period during which five

(5) units is the maximum he could have provided to two Beneficiaries.

       202.   On September 28,2015, in the Moorhead, Minnesota clinic,

RehabAuthority Physical Therapist Kristopher Peterson, PT, recorded in his flow sheets

the time times and total minutes he purportedly treated four (4) Medicare Beneficiaries-

W.S., L.C., H.M., and   D.N.-from 9:30 a.m. to   12:00 p.m., with a different patient

arriving approximately every halfhour. According to each Beneficiaries' flow sheet

completed by Peterson, he provided three (3) units oftherapeutic exercise to

Beneficiaries W.S. and D.N.; two (2) units of therapeutic exercise and manual therapy to

Beneficiaries L.C. and H.M.; and one (1) unit of neuromuscular reeducation to each.



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Thus, Peterson billed sixteen   (   1   6) timed units in a one hundred   fifty   (   1   50) minute period

for which the maximum amount of bil1able individual therapy units is ten (10).

          3. Idaho
       203.      On April 3,2017, in the Eagle Road clinic in Boise, Idaho, RehabAuthority

Physical Therapist Tyler Zacher recorded in his flow sheets the time and toal minutes he

purportedly treated Medicare Beneficiaries M.W. and M.M. from 8:59 a.m. to 9:55 a.m.

and 9:02 a.m. and 9:58 a.m. During the fifty-two (52) out of the fifty-three (53) minutes

during which the Bene{iciaries' treatment sessions directly overlapped, Zacher billed

M.W. twenty four (24) minutes ltwo (2) units of therapeutic exercise and thirty (30)

minutes / tuto   Q)   units of manual while putportedly providing M.M. with thirty-eight

(38) minutes of manual therapy and ten (10) mi"ulss 7 6ne (1) unit of therapeutic

exercise. Thus, Zacher billed eight (8) units when a maximum of four (4) billable units

were acfually provided. In the aftemoon the same dan he did the exact same thing,

billing four (4) units each to Beneficiaries E.D. and R.D., who were doubled booked from

4:04 p.m.to 5:12 p.m. and4:.12 p.m. to 5:10 p.m., respectively.

       2A4.        On May 24,2017, in the Star, Idaho clinic, RehabAuthority Physical

Therapist Eric Williams recorded in his flow sheets the times and total minutes he

purportedly teated three (3) Medicare Beneficiaries-E.K., M.S., and                       R.B.-from   8:00

a.m. to 10:00 a.m., with a new patient arriving every half hour exactly. According to each

Beneficiarieso flow sheet completed by Williams, he provided three (3) units                    of

therapeutic exercise and one (1) unit of manual therapy to each Beneficiary. Thus,



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Williams billed twelve (12) timed units in one hundred twenty (120) minutes,     a   period

for which eight (8) is the maximum amount of billable individual therapy units

       2A5.   On October 17,2016, in the Idaho Falls, Idaho Woodruff clinic,

RehabAuthorify Physical Therapist Trevor Dimond recorded in his flow sheets the time

and total minutes he purportedly heated both Medicare Beneficiaries G.D. and D.M.,

from 1 1:05 a.m. to 12:06 p.m. and I I :06 a.m. to 12:01 p.m., respectively Dimond

documented in Beneficiary G.D.'s flow sheet that he provided after a ten (10) minute

'#arm-up, fifty-seven (57) minutes of therapeutic exercise and accordingly billed four (4)

units to the Government. However, Dimond also billed four (4) units of therapeutic

exercise for Beneficiary D.M., whose flow sheet indicates Dimond provided, after a ten

(10) minute bike warm-up, forty-three (43) minutes of therapeutic exercise. Thus,

Dimond billed eight (8) units of therapeutic exercise when at most, four (4) units were

actually provided within the same time period

       206.   Also on October 17,2016 in the Idaho Falls, Idaho Woodruff clinic,

RehabAuthority Physical Therapist Trevor Dimond recorded in his flow sheets the

times and total minutes he purportedly treated both Medicare Beneficiaries E.B. and

A.W.A., from 2:06 p.m. to 3:40 p.m. and 2:00 p.m. to 3:25 p.m., respectively. Dimond

documented in Beneficiary E.B.'s flow sheet that he provided, after a ten (10) minute

wannup, thirty (30) minutes of therapeutic exercise and thirry-eight (38) minutes    of
manual tlerapy and billed four (4) units. However, Dimond also billed five (5) total

units, three (3) of therapeutic exercise and two (2) ofmanual therapy, for Beneficiary

A.W.A., whose flow sheet indicates Dimond provided, after a ten (10) minute warm-up,

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thirtv (30) minutes of therapeutic exercise and twenty-five (25) minutes of manual

therapy during the same time period as he was treating E.B. Thus, Dimond billed at least

eight (8) unis during the seventy-nine (79) minutes the beneficiaries were double

booke{ which was double the amount allowed by Medicare: seventy-nine (79) minutes

ofoverlap, with sixteen (16) and ten (10) minutes free or unaccounted for, respectively'

         207.   On August 13,2A14, in the Nampa, Idaho clinic, RehabAuthority Physical

Therapist Nate Martin, PT, recorded in his flow sheets the times and total minutes he

purportedly treated Beneficiaries M.S. and B.S. from 10:55 a.m. to l2:00 p.m. and I l:00

a.m. to l2:00 p.m., respectively. During the sixty (60) of the sixty-five (65) minutes      for

which the Beneficiaries were double-booked, Martin billed and purported to provide

Beneficiary M.S. with three (3) units of therapeutic exercise and one   (l)   unit of manual

therapy while also providing four (4) units of therapeutic exercise to Beneficiary B.S., for

a   total of eight (8) units billed where four (units)-two (2) units each-is the maximum

that could have been provided.

         208.   On December 16,2011, in &e Overland Road clinic in Boise, Idaho,

RehabAuthority Physical Therapist Ryan Marsh, PT, recorded in his flow sheets         tle
times and total minutes he purportedly treated Beneficiaries A.M. and N.S. from 10:00

a.m. to I I :25 and 10:08 a.m. to 1 1:10 a.m., respectively. Marsh documented in

Beneficiary A.M.'s flow sheet that he provided five (5) units of therapeutic exercise and

one (1) unit of vasopneumatic compression therapy in eighty-five (85) minutes. However,

Marsh also documented and billed four (4) units oftherapeutic exercise purportedly

provided to Beneficiary N.S. during the sixty-two (62) minutes that her entire

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appointment overlapped with Beneficiary          A.M. Thus, Marsh billed a total of ten (10)

units, double the allowable amount.

            4. North Dakota
       249.    On August 30,2013 in the Fargo, North Dakota Autumn Fields clinic,

RehabAuthority Physical Therapist Christopher Kraemer recorded in his flow sheets the

times and total minutes he purportedly treated Beneficiaries D.G., K.S. and M.I. from

9:49 a.m. to I I :00 a.m., 10:23 a.m. to   11   :48 a.m., and 10:57 a.m. to 12:24   p.m,

respectively. Kraemer documented in Beneficiary D.G.'s flow sheet that he provided five

(5) units of therapeutic exercise and one (1) unit ofmanual therapy in seventy-one (71)

minutes. However, Kraemer also documented and billed three (3) units of therapeutic

exercise, one (1) unit of neuromuscular reeducation, and one (1) unit of manual therapy

provided to Beneficiary K.S., followed by four (4) units of therapeutic exercise and one

(1) unit of manual therapy provided to Beneficiary        M.I.   Thus, by staggering his

ovedapping Medicare Beneficiaries, Kraemer billed sixteen (16) timed units in one

hundred and fifty-five (155) minutes, which is only enough time for ten (10) units

Inixlmum.

       210.   On January 27, 20 1 7, RehabAuthority Physical Therapist Kayla Leer

recorded in her flow sheets the times and total minutes she purportedly treated both

Medicare Beneficiaries D.H. and M.I. from 9:45 a.m. to 10:57 a.m. and 9:53 a.m. to

I 1:15 a.m., respectively, at   RehabAuthority's Clinic in Bismarck, North Dakota. Leer

documented in Beneficiary D.H.'s flow sheet that she provided an evaluation, billed as

one (1) unit, and also documented a unit each of manual therapy, neuromuscular

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reeducation, and electric stimulation, for a total of four (4) units. Howevero Leer also

bilted five (5) units, two (2) oftherapeutic exercise, one of manual therapy, one of

neuromuscular reeducation, and one of electric stimulation, for Beneficiary M.I., whose

flow sheet indicates Leer also provided at least twenty-eight (28) minutes oftherapeutic

exercise, ten (10) minutes of manual therapy, ten (10) minutes of neuromuscular

reeducation, and fifteen (15) minutes of electric stimulation. Thus, Leer billed nine (9)

units in one hundred forty (140) minutes, with at least six (6) of the units behg for timed

services purportedly provided during the sixty-four (64) minutes that the patient

beneficiaries were double-booked.

       211.   On June 24,2016 RehabAuthority in the Grand Forks, North Dakota

Demers clinic, Physical Therapist Kirk Hayes recorded in his flow sheets the time and

total minutes he purportedly treated both Medicare Beneficiaries J.B. and L.K.., from

2:48 p.m. to 4:08 p.m. and 3:05 p.m. to 4:00 p.m., respectively. Hayes documented in

Beneficiary J.B's flow sheet tlat he provided thirty-eight (38) minutes of therapeutic

exercise and ten (10) minutes of an untimed modality and billed four (4) units to the

Govemment. However, Hayes also billed three (3) units of therapeutic exercise and one

unit of manual therapy for Beneficiary L.K., whose flow sheet indicates Hayes provided

forty (40) minutes of therapeutic exercise and eight (8) minutes of manual therapy. Thus,

Hayes billed seven (7) timed units when at most five (5) units could have actually

provided within the same time period.

       212.   On May 10,2017 in the Fargo, North Dakota University Town




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Center clinic, RehabAuthority Physical Therapist Tyler Burcham recorded in his flow

sheets the times and total minutes he purportedly treated Medicare Beneficiaries E.O.,

J.B., and L.S. from 9:59 a.m. to l1:05 a.m., 10:00 a.m. to 11:10 a.m., and 10:19 a.m. to

1   1:40 a.m., respectively. Burcham documented in Beneficiary E.O.'s flow sheet that he

provided three (3) units of therapeutic exercise and one unit ofneuromuscular

reeducation in sixty-six (66) minutes. Howevet, Burcham also documented and billed

three (3) units of therapeutic exercise and one unit of manual therapy provided to

Beneficiary J.B. during sixfy-five (65) of E.O.'s sixty-six (66) minutes., followed by

three (3) units oftherapeutic exercise and one unit of neuromuscular reeducation

provided to Beneficiary L.S. Thus, by triple booking these patients for forry-six (46)

minutes, Burcham billed twelve (12) timed units in one-hundred and one (101) minutes,

which is five (5) units more tlan the seven (7) allowed by Medicare.

            5. Upp er Manasement
         213.   RehabAuthority's upper management are not only aware of and actively

encouraging thet employees to wittingly and unwittingly carry out the overbilling

scheme, but they actively participate in it themselves. Indeed, in the course of reviewing

hundreds of dates of services and thousands of claims, the single most egtegious

fraudulent billing came from RehabAuthority CEO and Founder Defendant Kevin

Hulsey.

         214.   On August 5,2016 in the ldaho Homedale clinic, RehabAuthority

Physical Therapist and CEO Kevin Hulsey, DPT, was filling in for two absent providers

and recorded in his flow sheets the times and total minutes he purportedly treated

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Medicare Beneficiaries M.M., M.J., and E.H. from 9:00 a.m. to l0:20 A.M. Hulsey

documented in Beneficiary M.M.'s flow sheet that he provided four (4) units         of

therapeutic exercise and one unit ofvasopneumatic therapy in eigh$ (80) minutes.

       215.   However, at the same time and in the same place, Hulsey also documented

and billed four (4) units of therapeutic exercise and to Medicare Beneficiary E.H. despite

the fact that E.H.'s appointment overlapped directly with M.M.'s for seventy-five (75)          of

M.M.'s eighty (80) minutes,   as   well   as three (3) units of therapeutic exercise and one   unit

manual therapy for Beneficiary M.J., whose appointment directly overlapped          botl M.M.

and E.H. Thus, by   triple booking   these patients for seventy-five (75) minutes, Hulsey

billed twelve (12) times units where the maximum was hve (5). He went on to double

book four (4) more appointments that day with Medicare and Medicaid beneficiaries, on

the hour, and bilted each for a full one-on-one sessiono netting at least thirty-two (32)

additional units.

       216.   On March 13,2017 in the Idaho Falls, Idaho Sunnyside clinic,

RehabAuthority Physical Therapist and corporate officer, Defendant Adam Cope,

recorded in his flow sheets the times and total minutes he purportedly treated Medicare

Beneficiaries M.B., M.E, D.W. and D.C. from 12:59 p.m. to 2:48 p.m., 1:23 p.m. to 2:45

p.m., l:50 to 3:09 p.m., and2:26 to 3:41 p.m., respectively. Cope documented in

Beneficiary M.B.'s flow sheet that he provided sixty-one (61) minutes of therapeutic

exercise, ten (10) minutes of manual therapy, and six (6) minutes of attended electrical

stimulation, for a total of six (6) timed units. For Beneficiary M.E., he documented forty-



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five (45) minutes of therapeutic exercise, ten (10) minutes of manual therapy, and fifteen

(15) minutes of electrical stimulation for a total of four (4) timed unites.

       217   .   However, at the same time and place, Cope also billed five (5) timed units

for Medicare Beneficiary D.W., whose flows sheet indicates Cope provided seventy-nine

(79) minutes of tlerapeutic excise while D.W. was triple booked with M.B. and M.E for

55 minutes. Finally, Cope documented        fifty (50) minutes of therapeutic exercise, fifteen

(15) minutes of manual therapy, and fifteen minutes of electic stimulation for a total      of

four (4) timed units for Beneficiary D.C. Accordingly, Cope treated four (4) beneficiaries

during one-hundred and sixty-two (162) minutes while documenting three hundred and

two (302) total minutes and billing   a   total of eighteen (18) units to tlte Govemment. The

maximum allowable unis were eleven (11), but Cope and RehabAuthority knowingly

falsified the supporting records and billed seven (7) fraudulent units to the Govemment.

       218.      On September 7,2016, in the Homedale, ldaho clinic, RehabAuthority

Chief Practice Officer and now also Physical Rehabilitation Network's Chief Compliance

Officer Defendant Matthew Smith, PT, recorded in his flow sheets tlte times and total

minutes he purportedly treated Medicare Beneficiaries J.B., D.W., M.A., and V.B. from

l:00 p.m. to 2:00 p.m., with the exception of Beneficiary M.A., whose appointment

lasted until 2:40. In this one hundred (100) minute time span, Defendant Smith

purportedly provided each Beneficiary with four (4) timed units of therapy-a fulI hour's

worth-and accordingly billed a total of sixteen (16) timed units. However, the most he

could have provided in that time span is seven (7) units. Thus, by quadruple booking a

single hour-long appointrnent, Smith more than doubled his billing.

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       C. RehabAu thoritv 's Fraudulent Billins for Services Performed bv Non-
          Credentialed Pers onn el and SuDD orted bv Records Falselv lndicatins
            Services Provided bv Licensed . Credentialed Theraoists.

       219.    Defendant RehabAuthority also perpetrates a fraudulent scheme involving

ttre practice of directing non-credentialed personnel to perform therapy services, in many

instances creating a significant risk of direct harm to patients.

       220.    The first iteration of this scheme involves billing for timed and service-

based codes, including therapeutic exercise, manual therapy ultrasound, and electric

stimulation, and other modalities, for services that are actually provided by non-provider

support staff. Therapy clinics in various jurisdictions refer to them as "therapy aides,"

but RehabAuthority labels them "therapy technicians.o' Regardless oftheir title,

aides/technicians have no formal therapy training or licensure and are only allowed to

assist in preparing patients for therapy, such as by helping move them and positioning the

patient beneficiary or equipment, none of which may be billed to the Govemment health

progmms.

       221.   However, when pushed to the scheduling limit by the double-booking

scheme, physical therapists at RehabAuthority's clinics routinely turn to their non-

licensed staff, including those they label therapy technicians, to "provide services" and

then to bill the Govemment as   if a physical therapist had actually provided therapy

servlces.

       222.   This routine practice results in a risk to patients, as "technicians" are neither

licensed nor trained to provide therapy services, and patients seen by them simply do not

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receive the care that   they-and their insurance providers-bargained for. For example, an

anonymous May 2,2014 online review complained that "most of the therapy was with an

aid, which is less than my wife was expecting."

       223.     Relator has both personally observed and was directed to participate in this

                                                                     oosupportive
widespread scheme. lndeed, Idaho state regulations ciearly define

personnel," such as Therapy Technicians, as "individuals, who are neither a physical

therapist or a physical therapist assistant, but who are employed by and/or trained under

the direction   ofa licensed physical therapist to perform desiguated non-treatment patient

related tasks and routine physical therapy tasks." IDAPA $ 24.13.01.

       224.     The next provision defines "non-treatment patient related taskso' as

"[a]ctions and procedures related to patient care that do not involve direct patient

teatment or direct personal superYision' such as "treatment area preparation and clean-

up, equipment set-up, heat and cold pack preparation, preparation ofa patient for

treatment by a physical therapist or physical therapist assistant, transportation ofpatients

to and from treatment, and assistance to a physical therapist or physical therapist assistant

when such assistance is requested by a physical therapist." Id.

        225.    Similarly, "routine physical therapy tasks" are defined as "actions and

procedures within the scope of practice of physical therapy, which do not require tlre

special skills or training ofa physical therapist or physical therapist assistant, rendered

directly to a patient by supportive personnel at the request ofand under the direct

personal supervision of a physicat therapist or physical therapist assistant."




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         226.      Within weeks of commencing employment with RehabAuthority in 2010

until she began working from home tn2012, Relator, with no medical training

whatsoevern was directed by Matthew Smith, DPT, to provide treatment directly to

patients and to perform "routine physical therapy tasks" at the Homedale, Idaho clinic

rvithout any supervision. Approximately twice per week, Smith directed Relator to

independently render and apply modalities, primarily vasopneumatic compression

therapy (CPT code 90716) and electric stimulation therapy (CPT code 90732),to patients

after little more than a two-minute demonstration of how to properly use and apply the

therapy devices. Relator can specifically recall providing these services from 2010 to

2012to Beneficiaries 8.M., J.T., J.C., M.A., C.E., S.V., S.D., K.B., K.P., B.P., and D.C..

She also recalls that she was directed to provide services to dozens more, including many

Medicare and Medicaid beneficiaries. Her services were then billed as if provided by

Smith.

         227   .   In addition, Smith directed Relator to perform ultrasound on at least two

occasions. The first time, in late 201 llearly 2012, Smith, sounding rushed and irritated,

directed Relator to render ultrasound therapy (CPT code 97035) to a patient's hand. The

only direction he gave was "don't hold it in one spof' because "it could bum the bone."

         228.      Finally, on multiple occasions from the start of her employment, Smith

attempted to use Relator to provide Therapeutic Exercise and Therapeutic Activities

services to patients, but relator regularly refused, telling Smith that she rvas not

comfortable rendering such services given her lack of training. However, on one occasion

in 2010 or 2011, Smith handed Relator a clip board and said "you don't have a choice,"

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before summarizing the therapeutic exercises prescribed to the patient and leaving to treat

someone else. Relator felt embarrassed and awkward with the patient, as she did not

know what she was doing, and afterwards she made it clear to Smith that she would not

provide services beyond application of cold packs and electronic stimulation.

       229   .   The use of unlicensed FOCs and Therapy Technicians is routine and

widespread throughout all offRehabAuthority's clinics, as it helps facilitate the double-

billing scheme by allowing the licensed therapists to provide care to one patient while at

least somebody is doing something with their double-booked patient in the interim.

       230. A small but representative         sample of this routine practice includes the

following    cases    in which the patients confirmed to Relator that, despite indication to the

contrary in the Physical Therapist's Flow Sheet, they received most or all their therapy

not from the Physical Therapist, but from the Therapy Technician, while the Physical

Therapist treated other patients:

                 a     Between   April 10,2017   and   April 28,2017, Patient O.O. visited

                       RehabAuthority's Boise, Idaho clinic on Eagle Road complaining         of
                       knee pain. While at each of her five (5) visits she was seen initially by

                       her Physical Therapist of record, Tyler Zacher, these initial encounters,

                       with the exception ofher April 10,2017 evaluation, lasted only l0-15

                       minutes at most, with the remainder of services provided by a therapy

                       technician.

                 b.    Between   ApiI4,2017    and May 5, 2017 Patient H.O. visited

                       RehabAuthority's Boise, Idaho clinic on Overland Road complaining           of
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                   knee pain. While at each of his twelve (12) visits he was seen    initially

                   by his PT of record, Ryan Marsh, these initial encounters, with the

                   exception of his April 4 evaluation, lasted only 10- l5 minutes

                   maximum, with the remainder of services provided by a technician.

               c   Between January 4,2072 and February 22,2012 Patient J.L visited

                   RA's Homedale, Idaho clinic complaining of lower back pain and

                   radiculopathy. While at each of his three (3) visits he was seen initially

                   by his PT of record, Brett Homstad, these initial encounters, with the

                   exception of his January 4 evaluation, lasted only 5-10 minutes

                   maximum, with the remainder of the services provided by a technician.

       231.    Since no later than 20 I I , RehabAuthority has submitted thousands     of

claims for units of TE, TA, and MT provided by technicians with no licensure, training,

or medical background whatsoever. As indicated aboven Medicare does not pay for

services provided by tecbnicians-also called 'aides'-regardless of the level      of
supervlslon.

       232.    However, technicians and FOCs are not the only RehabAuthority

employees illegally providing services billed as ifprovided by a properly credentialed

provider. Unwilling to let the Medicare credentialing process stand in the way of newly

hired providers' contributions to the all-important patient visits totals, RA simply allows

such non-credentialed PTs to provide services but then bills them under the name       ofa

different PT who is properly credentialed. The credentialing, or "enrollment" process

enables providers to contract with Medicare to receive reimbursement for heating

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Medicare beneficiaries 42. C.F.R $ 424.505. Enrolled providers submit

"fd]documentation associated with regulatory and statutory requirements necessary to

establish a provider's or suppliels eligibility to furnish Medicare covered items or

services to beneficiaries in the Medicare program." 42. C.F.R $ 424.510(d).

       233   .   A sample of this scheme, which underscores the utter disregard RA has for

the Medicare billing rules and the credentialing process that binds providers to them,

includes the following:

                 a.   According to Relator's information and belief, Trevor Dimond, DPT,

                      was not Medicare credentialed until   Anril I l^ 2015. Yet initialed flow

                      sheets reveal that Dimond began seeing Medicare patients as early as

                      February 2015, including twelve (12) visits with Patient-Beneficiary

                      D.H. between Feb.13 and Apt'.l4,2015 at RA's WoodruffAve. clinic in

                      Idaho Falls, Idaho clinic. The approximately thirty-five (35) units   of

                      therapy provided by Dimond was submitted for billing as if perforrned

                      by credentialed PT Greg Bailey, who signed D.H.'s SOAP notes.

                 b.   According to Relatoros information and belief, Nicholas Hartley, DPT,

                      \ras not M edicare or Medicaid            ed until   A   15 2015 .   Yet,

                      SOAP note annotations reveal that Hartley began treating, or

                      supervising the treatrnent of, Medicare and Medicaid patients as early as

                      February 2015, including thirteen (13) visits by Medicaid Beneficiary

                      A.E. between Feb.25 and March27,2015 at RehabAuthority's

                      Homedale, ldaho clinic. The approximately sixty-four (64) units      of
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           therapy provided or supervised by Hartley were submitted for billing as

           if performed or supervised by credentialed PT James Muir, who signed

           D.H.'s SOAP notes. Hartley also treated, supervised and billed for

           therapy services provided to Medicaid Beneficiary S.W. during at least

           (10) visits between Jan. 23 and March       ll,20l5.
     c.    According to Relator's information and belief, Evan Applegate, DPT,

            ns nnf   M ed icare or Medicaid creden fialed rrnti ls     .21 and Oct.   5


           2015. resoectively. Yet , SOAP note signatures and clinic schedules

           reveal that Applegate began treating, or supervising the treatment of,

           Medicare and Medicaid patients on Aug. 12,2015, including three (3)

           visits by Medicaid Beneficiary J.W. on Aug. 12,17 and24 at

           RehabAuthority's Homedale, Idaho clinic. All six (6) units of therapy

           provided or supervised by Hartley were submitted for billing as       if
           performed or supervised by credentialed Therapist Nicholas Hartley,

           DPT, who initialed J.W.'s flow sheets. However, according to the

           clinic's daily schedule, Hartley was not even present in the clinic on

           Aug, 24 when J.W. was discharged. Applegate also provided therapy to

           Medicare Beneficiary D.B. on Aug. 24, Sept. 2, and Sept. 4,2015,

           billing   a   total of eight (8) units under Hartley's name and license.

      d.   According to Relator's information and belief, Andrea Rowan, DPT,

           was not Medicaid or Tricare credentialed untii Aug. 25 and26,2A16,

           respectively. Yet, SOAP note signatures and clinic schedules reveal that

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          Rowan began treating Medicaid patients in early August,20l6,

          including seven visits by Medicaid Beneficiary K.P. between Aug. I

          ard23,2016 at RehabAuthority's Kuna, Idaho clinic. All seventeen

          (17) units of therapy provided or supervised by Rowan were submitted

          for billing as if performed or supervised by credentialed Therapist Paul

          Vinci, DPT, who signed all but one of K.P.'s SOAP notes-the SOAP

          note generated on the first visit. Vinci remembered to falsely sign the

          August. 1, 2016 initial evaluation formn but Rowan, who actually did

          the evaluation, signed the accompanfng SOAP note herself, exposing

          the fraud. Rowan also evaluated Tricare Beneficiary R.T. on August. 9,

          201 6 and treated   him on Aug. I 1, 1 6, 1 8, and 23, 2016 prior to being

          Tricare credentialed.

      e   According to Relator's information and belief, Jamie Hillesland, OT,

          was not Medicare credentialed until May 1, 2015. Yet, scheduling

          records, flow sheets, and annotated SOAP notes indicate that she

          provided therapy to Medicare and Medicaid patiens regularly since her

          RehabAuthority "orientation" on Jan. 9, 2074 as a "fill in" for

          credentialed OT Mary Lym Bemston, including Beneficiaries S.N.,

          B.G, J.B, K.H., B.O., E.F., A.S., M.S., 8.J., J.S., S.O throughout 2014;

          and S.C, K.R., K.R., J.S., C.H., S.H., L.D., M.O., C.H., J.8., and M.M.

          through April 2015.



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       234.   Relator first noticed this practice in April, 2AA in connection with the

above example involving Ms. Jamie Hillesland, RehabAuthority's sole occupational

therapist. Concerned that Hillesland's claims might be denied, Relator emailed Premier

Billing CEO Amy Roe on April 8,2074 asking "if it is ok that we are billing (evals)

under Mary Lynn while she is out of the office and has a fill-in.'o Roe responds,

"Unforhmately yes as I guess tlere is a fill in. The person is not contracted, so I guess     I
am not to know." (emphasis added).

       235.   Confused by Roe's cryptic response, Relator immediately sought

clarification from then-President of Practice Education and Outreach Matthew Smith.

Smith, now Physical Rehabilitation Network, LLC's, Chief Compliance Officer,

responded, "Yes we are aware."

       236.   Finally, RehabAuthority in Minnesota regularly exploits the fact that

Minnesota state law, as described above, allows physical therapist assistants, and in some

cases physical therapy students, to practice under the supervision   ofa Physical Therapist

who is not physically present on-site.

       237.   For example, patient scheduling and treatment records reveal that

RehabAuthority ThiefRiver Falls, LLC physical therapist assistant Alicia Backer treated

multiple patient-beneficiaries alone and unsupervised, while the physical therapist   of
record, Kim Rosendahl, was not even present in the office on September 19, November

28,andDecember5,2Al4;June I andJuly20,2l,22,and23,20l5;andJuly20,2017.

Similarly, patient scheduling and treatment records reveal that student therapist Krishaun

Tumer on June 5, 2017 treated at least two patient-beneficiaries at the RehabAuthority

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Woodruff, LLC clinic in Idaho Falls, Idaho while the therapist of record, Greg Bailey,

was off-site and the only other therapist, Trevor Dimond, was in an evaluation room with

a   different patient. This illegal use of students also occurred as far back as March      77   ,

2014, when RehabAuthority Kuna, LLC student therapist Garret Weldon treated a

patient-beneficiary while licensed therapist Paul Vinci treated two different patients at the

same trme, including an initial evaluation.

         D. Defendant's Illesal Waiver of Beneficiarv Co-Pavments and Deductibles

         238.   In most cases, Medicare beneficiaries must pay a portion of the cost of their

therapy. Medicare and most other govemment payors that provide coverage to

RehabAuthority's customers require that the customer pay       a   20% "co-payment" in

addition to a deductible. While RehabAuthority typically tries to collect co-payments at

the time of serviceo oltentimes they are billed to the cu$tomer or applicable secondary

payor on a weekly billing cycle.

         239.   rJnder 42 U.S.C. $ 1320a-7a, any person or entity that offers or give

o'remuneration" to a beneficiary, knowing that such remuneration is likely to influence


the beneficiary to order or receive from a particular provider any service for which a

Medicare payment may be made, is subject to a civil monetary penalty, "Remuneration"

includes the waiver of co-insurance and deductible amounts, unless       :   (I   ) the waiver was

not offered as part ofan advertisement or solicitation, (2) the provider does not routinely

waive coinsurance or deducible amounts, and (3) the provider waives the co-pa].ments or

deductible amounts "after determining in good faith that the individual is in financial



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need" or because the providel could not collect the coinsurance or deductible amounts

after making reasonable collection efforts.

         240.   RehabAuthority does not meet this narrow regulatory safe harbor. Rather,

RehabAuthority knowingly treats govemment healthcare beneficiaries just like its other
                                            oodeals"
patients in that it offers certain patients          to come to RehabAuthority for therapy.

The patients are selected either because they are "friends and family'" or because

RehabAuthority management has determined it is worth offering them a deal in order to

atfact their business. No good faith determination offinancial need or reasonable effort

to collect is made.

         241.   On May 20, 2014, RehabAuthority Chief Administrative Offrcer Nikki

Walker emailed all Front Office Coordinators regarding a new internal form called a

'owrite-off report" to be used to record the provision of discount and "deals"-including

complete write-offs of amounts otherwise owned by patient-rather than expressly

documenting the deals in the notes that accompany the billing records sent to PBS, where

deals would be reflected monthly on the "Aged Account Reports," which record patientso

outstanding balances.

         2M. "Instead," wrote Walker, "[FOCs] will fill this out and fax it to PBS on the
28th   of each month. The form will be for all 'deals'-family, friends, trade outs, out-of-

network, etc." However, to ensure that the billing record included soze indication of the

deal so as not to slow up the claims submission process, Walker further directed the

FOCs in the same email, that:




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                If there is a deal, you will document one of the codes below in the
                Financial Statistics Page of MBS by simple putting A, B, C, or    D-
                nothing else. On the new form under the section [RAJ approval,     I
                would like you to write the code WITH an explanation. For example,
                C: [RAJ agreed to 820 copay instead of$40 or D: [RA] will honor
                in network benefits of $20 copay instead of $4a.

         243.   Walker then provided the o'deal codes":

                A = Complete write-off
                B : Insurance only
                C : Reduction ofcopay or coirsurance
                D = honor in-network benefits."

         244.   Nonetheless, RehabAuthority FOCs would occasionally revert back to their

o1d   practice and note the "deal" on the Financial Statistics page of the patients' accoutrt

and   billing records. These "mistakes" resulted in a March 16,2A16 email from PBS

employee Christine McDaid to Relator, two other FOCs, and CAO Walker in which

McDaid states:

                Please see the Ftnancial Stats page where we put aftangernents.
                Ll'hen billing insurance, we can't put things about us accepting
                something lower than what insurance tells us is patient
                responsibility (i.e. accepttng a lower co-payt, writing services o/f
                after insurance pays, trading services etc.)

                If the account was ever audited by insurance or    becomes part ofa
                legal suit, we could get in big trouble with that insurance canier
                because it would be a breach ofour contract and our fee schedule
                could be penalized for all future patients.

         245.   McDaid in her email then reminds the recipients of the above-described

practice of simply indicating Plan A through D, and that:

                 [wJ hen you want PBS to know what exactly the arrangement is,
                please put it on the monthly spreadsheet that you send to Amy Roe.     If
                Jen Mitchell (statement gal) needs to know what the alyangement is,
                she'll e-mail or call-

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       246. Finally, McDaid         notes to Relator, CAO Walker, and Senior FOC Ann-Jean

                   o'been                 A LOT lately from several clinics," supporting
Yuly, that she's            seeing this

                                                                     o'deals" is longstanding and
Relator,s personal observation that RA's practice of offering

widespread.

       247, A small but representative          sample of the Medicare beneficiaries who

received "deals" in the form ofthe reduction or waiver of copayments include the

following:

              a.    In June 2017, Beneficiary G.W. was granted a "Plan C" reduction of a

                    $20 coPaYment.

              b.    On or about Feb. 1 3, 20 17, Beneficiary D.S was granted a "Plan        B"

                    waiver of a $20 per-visit copayment, resulting in      a   total oI$1,020.00

                    written off over the course of fifty-one (51) visits.

              c.    On or about Aug. 11, 2016 Beneficiary S.R. was granted a "Part B"

                    waiver ofa $15 per visit copa)'rnent, resulting in a total of$85.49

                    written off over the course ofseven (7) visits.

              d.    On or about May        3,2Afi, -Beneficiary D.A.,   the grandfather of an RA

                                            ooPlan
                    employee, was granted a        B" waiver of a deductible and

                    copayment, resulting in a total write-off of $71.85.

              e.    On or about lar^ 4,2016, Beneficiary L.C. was granted a "Plan C"

                    reduction ofher $20 per-visit copay, resulting in a total of$660 written

                    offover the course of thirty-three (33) visits.


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                f.   On or about June 5, 2015, Beneficiary P.J. was granted a "Plan    B"

                     waiver of four $40 copayments, resulting in a total of $160 written    off

                     over the course of four (4) visits.

                                                                               ooPlan
                g.   On or about July 10, 2012, Beneficiary L.A. was granted a             B"

                     waiver ofher 20oZ coinsurance obligation, resulting in a total of $406.87

                     written off over the course of her treatment. A subsequent "Plan B"

                     waiver was granted to Beneficiary L.A. on or about July 13,2016,

                     which resulted in a total write-off of S4l0.4l   .



         248.   RehabAuthority authorizes and encourages PTs to waive patient-

beneficiary's payment responsibilities whenever they think that doing so would please

RehabAuthority's employees, oofriends or family'' or otherwise generate business or

referrals or induce beneficiaries to seek and receive therapy.

         249.   Waivers of co-pays and deductibles are unlawful because such "deals'o

misrepresent providers' acfual charge for the service at issue, which results in Medicare

overpayments. RehabAuthority's own employee handbook, under the section titled

"Insurance Fraud," recognDes that "patients are required to pay for Co-PaymenUCo-

insurance at the time care is delivered" and that RA       will o'review financial hardships' on
                                                                          o




a case   by case basis at the Corporate Office."

         E. RehabAuthori tl 's Intenti onallv Indiscriminate          Use of Unbun dlino
            Modifiers

         250.   Federal regulations, specifically 45 C.F.R. $ 162.1002(a)(5), (bX1),

designate the American Medical Association's Current Procedural Terminology ("CPT")


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and the Centers for Medicare    & Medicaid Services Common Procedure Coding System

C'HCPCS") as the standard codes to be used for physician services and other health care

servrces.

       251.    While some ofthe physical therapy CPT codes at issue here have been

introduced above for reference, CPT codes are generally ranged so as to describe services

of increasing complerity or that consume an increasing amount of the provider's time,

such that the higher number code reflects a procedure for which the provider would be

compensated at a higher rate than the lower-numbered code. Many CPT codes describe

services which are part of or included in services described by other, more inclusive

CPT codes. Billing for services by using the separate codes for each of the included

services, when the services are more accurately described under a single, "inclusive"

                                                                  ounbundling."
code, to increase reimbursement is a fraudulent practice known as

       252.    Beginning in 1999, CMS developed the National Correct Coding Initiative

(NCCD to promote national correct coding methodologies and to control improper coding

leading to inappropriate payment in Part B claims. CMS developed its coding policies

based on coding conventions defined in the American Medical Association's CPT

Manual, national and local policies and edits, coding guidelines developed by national

societies, analysis of standard medical and surgical practices, and a review of current

coding practices.

        253.   Accordingly, the NCCI annually publishes a multi-volume Coding Manual

addressing thousands of "edit pairs" or combinations of two codes reflecting two services

'tsually performed   as   part of [a single] procedure as a standard of medicaVsurgical

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practice.'o Providers must "report the HCPSCs/CPT code that describes the procedure

performed to the greatest specificity possible" and use it "only    if all services   described by

the code is performed." Moreover, a "physician should not separately report these

services simply because HCPCS/CPT codes exist for them." NCCI, NCCI Policy Manual

for Medicare Services, Ch. XI, $ A (Jan. 1, 2017).

        254.   Accordingly, the rationale for determining which codes are "paired" and

'obundled," i.e. billed only for the code in the pair deemed to be more inclusive, is

reflected CMS and NCCI's organization of the edit pain into "Medically Unlikely'' edits

and "Procedure-to-Procedure ('PTP") edits. The former are code pairs that reflect

services that, are not, together, medically necessary, while the latter simply reflects codes

where   tle reality of the type of services   suggests a likelihood of overlap in which one or

both services are not being fully provided.

        255.   However, edit pairs are not always brndled. Ifthe provider properly

documents that the two services were indeed medically necessary and provided

separately, they can   bill the two   codes along with a "modifier" indicating that the codes

are to be'lrnbundled" and billed individually. This      modifier-'omodifier 59"-is defined

by CMS and the CPT Manual as indicating a "distinction procedural service," which is

defined as a procedure or service was distinct or independent" from each other and

"appropriate under the circumstances."

        256.   Documentation for billing a 59 modifier-appended edit pair "must support a

different session, different procedure or surgery, different site or organ system, separate

incision/excision, separate lesion, or separate injury (or area ofinjury in extensive

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injuries) not ordinarily encountered or performed on the same day by the same

individual." CMS,Modi/ier 59 Article, (2014), available at

https://*.wrr.cms.gov/Ntledicare/Coding,t{ationalCorrectCodlnitEd/downloads/modiher5

9.pdf

        257.   While NCCI edit pairs effect every health care industry, particularly

surgery practices, PTP edit pairs have a particular impact on outpatient therapy practices,

where certain CPT codes and services, such as Therapeutic Exercises, Therapeutic

Activities, and Manual therapy can easily overlap, with one becoming the other in matter

of minute or seconds.

        258.   Accordingly, CMS actually uses the PTP edit pair of 97140 (MT

techniques: "e.g. mobilization, manual lynphatic drainage, manual traction,   lot more

regions, each 15 minutes"); and 97530 (TA: direct, (one-on-one) patient contact, use   of

activities to improve functional performance, each 15 minutes") to illustrate the proper

and improper use of modifier 59, stating:

               "Modifier 59 may be reported if the two procedures are
               performed in distinctly different 15 minute time blocks. For
               example, one seryice may be performed during the initial 15
               minutes of therapy and the other service performed during the
               second i5 minutes oftherapy...CPT code 97530 should not be
               reported and modifier 59 should not be used if the two
               procedures are performed during the same time block.

CMS, Modifier 59 Article, (201D,p.9 available at
https://www.cms.gov/Medicare/CodingAllationalCorrectCodlnitEd/downloads/
modifier59.pdf

        259,   RehabAuthority's flow sheets, described above, are completed by hand and

are neither designed nor completed in a way that makes it at all possible to determine

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what "time blocK'the various therapies are provided during the course of a patient visit.

Likewise, while the SOAP note describes MT and TA separately, there is nothing

documented specifically indicating when they were provided or how the 59 modifier is

appropriate. This is because RehabAuthority's physical therapists, at the direction ofPBS

and with the knowledge of RA corporate management, simply add the 59 modifier to

every MT/TA edit pair to ensure maximized, unbundled reimbursement regardless             of

how or when the services are actually provided.

         260.   For example, on   April 1,2014, Ann-Jean Yuly,    the head FOC and FOC for

RA's corporate office, emailed the entire FOC staff, asking that they respond to confirm

their receipt of the email which stated "The modifier 59 is for all insurance companies.

Sorry this wasn't clear but the 59 mod needs to be on every bundle you see." (emphasis

added). The same email forwarded a March 31,2014 email with a document attached

which Yule referred to as a "cheat sheet with some of the 59 modifier info."

         261.   The "cheat sheef'document listed "59 Modifier Bundles" as MT and TA;

MT and GT; MT and Traction; TA and Gait; TA and Traction; or Gait and Traction" and

indicated which services received the modifrer, stating: "59 modifier always goes on the

MT if that is in the bundle...The PT knows that if they are billing any of these they have

to   justiry why they are using them." The cheat sheet ttren refers to the "distinct or

independent" requirement referenced above.

         262.    As described above, RehabAuthority PTs fail to properly document their

'Justification" for the separateness of the bundled services. This is because,   as   reflected

in the email above, RehabAuthority's PTs simply "always" tack on the modifier

                                                87
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whenever the bundled services are purportedly provided-they are not changing their

practice to ensure the services are actually provided in separate 15 minute "time blocks"

as   required by Medicare. Indeed, as a result of the double-booking scheme above,

RehabAuthority providers are hardly able to provide ful1 fifteen-minute time blocks     of

any services, much less reorganize a treatmetrt session to split up services identified by

NCCI for bundling because oftheir tendency to be grouped together.

         263.   Accordingly, the precise scope ofthe improper unbundling scheme is

diffrcult to determine. However, in   a   March 25, 2Al4 email, PBS CEO Amy Roe pleaded

with the FOCs as follows: "The PT's are starting to use these codes that bundle now and

we have hundreds of denials/day because the charges are not having the 59 modifier

applied. PLEASE, PLEASE, PLEASE make a big note or have some kind of self-

reminder about these modifiers."

         264.   In the same email, Roe, in the context of chastising the Front Offrce

                       oocharge
Coordinators for their          selection" states: "We are also trying to get you paid as

fast and as much as we can so you are profitable and bonuses can be received." Per CMS

guidelines regarding specific subsets of the 59 modifier, RA's use of the modifier is

indicated with the code "XU."

         265.   Between its October 20 1 I opening and July 25, 20 I 7, RA billed 27,281

units of MT at its Idaho Falls, tdaho clinic alone.

         266.   False claims submitted for improperly unbundled TA and MT edit pairs

involving Medicare and Medicaid Beneficiaries include the following:



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           On July 5,2016, Christopher Kraemer, PT treated Medicare Beneficiary

           S.L. for back pain. Nothing in his documentation justifres the

           unbundling documented in S.L.'s MBS account, which resulted in false

           claims for 2 extra MT units when only         I TA unit was proper.

      b.   On January 30, 2015 Mark Thompson, PT treated Medicare Beneficiary

           E.W. for back pain at RA's Idaho Falls, ID clinic. Nothing in his

           documentationjustifies the unbundling documented in E.W.'s MBS

           account, which resulted in a false claim submitted for 1 extra MT unit

           when only   I   manual traction unit was proper. Thompson also

           improperly unbundled two units of MP and TA on Jan. l9n 2015 with

           the same patient.

      c    On August 28 and September 25,2015 Nathan Hunsacker, PT treated

           Patient-Beneficiary P.T. for neck pain at RA's Idaho Fatts, ID clinic.

           Nothing in his documentation justifies tho unbundling documented in

           P.T.'s MBS account, which resulted in false claims submitted for 2

           extra MT units per visit when only      I   manual traction unit was proper.

      d.   On December 9 and 14,2016, Jed Loertscher, PT treated Medicaid

           Beneficiary K.M. for ankle pain at RA's Idaho Falls, ID clinic. Nothing

           in his documentation justifies the unbundling documented in K.M.'s

           MBS account, which resulted in false claims submitted for         1   extra MT

           units per visit when only   1   gait training unit was proper.




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               e.   On May 12,2017 , Christopher Kraemer, PT, treated Medicaid

                    Beneficiary S.B. for knee pain at RA's Autumn Fields, ID clinic.

                    Nothing in his documentation justifles the unbundling documented in

                    S.B.'s MBS account, which resulted in false claims submitted for 2

                    exffa MT units per visit when only 2 TA units was proper.

        267.   Given Relator's receipt of directives from Roe of PBS and her observations

in the course of her duties as an FOC of the automatic application of the      "Xu"   (59)

unbundling to any codes that would otherwise be bundled, along with the fact that the

bundled codes, such as MT and TA, are some of the most commonly performed

procedures, this fraud scheme could easily have cost government healthcare programs

tens of thousands of dollars,   ifnot more, over the past four years.

        F. RehabAutho ritv's Failure        to Return Identified Medicare 0vernavments
           Within 60 davs

        268.   Under 31 U.S.C. 3729(a)(1)(G), the FCA imposes liability for a so-called

'oreverse false claim" on anyone who "knowingly conceals or knowingly and improperly

avoids or decreases an obligation to pay or transmit money or property to the

Govemment." "Knowingly''is defined to include "actuai knowledge of the existence             of

the overpayment.'     3l   U.S.C. 3729(bXlXA); 79 Fed. Reg. 29,843,29,920 (May23'

2}tq.
        269. An "obligation"      includes o'an established duty ... arising from ... the

retention of any overpayment," 31 U.S.C. $ 3729(b)(3), including "any overpayment

[from Medicare] retained by      a person   after the deadline for reporting and retuming an


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overpaynent." 79 Fed. Reg.29,843, 29,918 (May23,2014). An "overpayment" is

defined as "any funds that a person receives or retains under [the Medicare and Medicaid

statutesl to which the person, after applicable reconciliation, is not entitled." 42 U.S.C. $

I320a-7k(dX4XB).

       27A.      The Patient Protection and Affordable Care Act of 2010        ('ACA") requires

a person   who receives an overpayment of Medicare or Medicaid funds to report and

retum the overpayment within 60 days of the date on which the overpayment was

identified. 42 U.S.C. $ 1320a-7k(d)(1)-(2).

       271   .   In addition to fraudulent billing and/or insufficient documentation by

providers submitting claims, Medicare overpayments can also happen as result of the

administrative and/or processing errors. If Medicare identifies an overpa),ment of $25 or

more, the Medicare Administrative Contractor (MAC) sends a demand letter to initiate

the overpayment recovery and appeals process, However, in part because Medicare's

ability to identiff overpalments and conduct audits is limite{ the above-cited ACA

provision drastically increased the responsibilities triggered by "self-identified"

overpayments which, for a myriad of reasons, have not been discovered by the           MAC-
providers cannot wait and hope that Medicare never finds out about the overpayment.

They have to pay it back, and lookbackpotentially years, to determine ifthere have been

any others.

       272.      In addition to each of the wrongfully obtained-and therefore wrongfully

retained-payments made to RehabAuthority            as a result   of its knowing implementation

above-described billing schemes, RehabAuthority has on occasion simply been paid too

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much by Medicare. However, rather than payng it back, RehabAuthority retains the

overpayments, and, when they believe enough time has passed that the records of the

overpayments    will not be audited, destro,s them.

        273.   For example, on November 14,2016, RehabAuthority Stacy James emailed

                    ooproject,"
Relator about a                    asking   if   she was able   "to add a couple more hours to your
                   oclean
weekly schedule to        house' in MPS." James prefaced the vague request, stating

ooPlease, please
                    know PBS keeps a fabulously 'clean house,' I just want to metaphorically

go digging in the attic and the basement [and] you have the precision and commitment

that this project   wili   take.   If you wish to go on this adventure, just give me a call..."

        274.   Upon speaking with James, Relator leamed that the project included

manually identirying information-by highlighting patient accounts and amounts owed to

                                                           o'Aged
Medicare indicated RehabAuthority's A/R or                          Accounts Reports." The reports

indicate overpayments as "credits" owed to patients' insurers, James specifically directed

Relator to analyze reports from before 2014 because it was "outside the range" she

thought the govemment might audit. Relator was directed to print the reports and, using

green highlighter, indicate the "insurance refunds" owed so that Amy Roe could

"remove" them. After receiving Relator's frst highlighted batch of reports, James

thanked Relator in a November 30, 2016 email for using her'osuper sleuth skills" and

reminded her to "please, please, keep the original [document] safely and securely with

you."

        275.   Relator did as directed and sent the highlighted reports to James in

February 2017 with a total of nearly $50,000 in overpayments made by the govemment

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and private health insurance providers identified in green hightighter. Relator leamed that

these "credits" were then "zeroed out" so that no record of the overpayments would

remain recorded in the patiens' billing records.

       27   6   .   Relator has personally observed dozens of post-20 1 4 overpayments

received from Medicare and Medicaid that have been retained years in some cases, sitting

in patient-beneficiaries MBS accounts under the "Financial Statistics" where they are

indicated under the "owed" to the patients' 'oinsurance." For example:

                    a. Billing records   indicate RehabAuthority identified a $101.50

                         overpayment from Medicare no later than       April B,2Al5 for therapy

                         provided to Patient-Beneficiary S.A. No attempt to repay or investigate

                         other overpayments has been made.

                    b. Billing   records indicate RehabAuthority identified a $121.33

                         overpayment from Medicare no later than Dec.       3 1,   2016 for therapy

                         provided to Patient-Beneficiary A.C. No attempt to repay or investigate

                         other overpayments has been made.

                    c.   Billing records indicate RehabAuthority identified a S3 18.00

                         overpayment from Molina Medicaid       -   Idaho no later than Dec.   3 1, 20   l6

                         for therapy provided to Patient-Beneficiary M.S. No attempt to repay or

                         investigate other overpayments has been made.

       277      .   As described above, the free and cavalier way in which the Chief Financial

Offrcer of the RehabAuthority was acting played          a   primary role in Relator's decision to

investigate her employer's compliance with Medicare regulations.

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        278.    This investigation began in April2017 when Relator leamed that her

position as Data Checker was being eliminated followilg RehabAuthority's decision to

transition electronic medical records as part of the acquisition of Defendant Idaho

Rehabilitation Partners, LLC by Physical Rehabilitation Network, LLC. Relator was told

by CAO Walker in June 2017 ta review the MBS system to see if there was a "role" she

could   fill. Relator thought   there may be some compliance issues she could help clean up,

but was shocked when she discovered a widespread, longstanding fraud scheme built on

shortchanging patients as well as taxpayers.

        G. RehabAuthority and Premier Billing Solutions'Conspiracy to Submit
             False Claims for Paymen! Falsify Records in Support of False Claims,
             and Conceal Overpayments

        279.    As innoduced above, Defendant Premier Billing Solutions (PBS) is

Defendant RehabAuthority's exclusive provider of medical billing services.

RehabAuthority is one of PBS's largest clients, and PBS's owner, founder, and Chief

Executive Officer, Defendant Amy Roe, and subordinates under her direct supervision,

such as Christine McDaid, personally review RehabAuthority's claims and instnrct

RehabAuthority's upper management, therapists, and Front Offrce Coordinators

("FOC's") regarding how to document their billing on the "Flow       Sheets'o   from which

billing information is entered into the MBS software and electronically transmitted to

PBS for submission to payors, including Covemment Payors.

        280.    Accordingly, PBS is not only aware of each of the above billing schemes,

but, as RehabAuthority's co-conspirator and primary source of billing expertise since at

least 2010, knowingly complicit in the submission of false claims for payment.

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           281.   For example, as also indicated above, PBS employee Christine McDaid on

March 16, 2016 emailed RehabAuthority Chief Administrative Officer Defendant Nicole

Walker instructions for how RehabAuthority employees should conceal illegal co-

pal,rnent waivers, stating that unless a coded system was used to indicate such "deals,"

..[if the account was ever audited by insurance or becomes part ofa legal suit, we could

get in big trouble...."

           282. Similarly, and as also described    above, Defendant PBS's CEO Amy Roe

not only personally instructed RehabAuthority's FOC's regarding the indiscriminate

application ofthe unbundling modifier but also, accordingly to the November 30, 2016

email from RehabAuthority CFO Stacey James, personally concealed the evidence of the

overpayments received from Govemment payors and other insuren identified by

RehabAuthority.

           283.   Indeed, rather than ensuring that RehabAuthority's billing is accurate and

claims submitted in compliance with ant!fraud provisions-the legal business function

of   a   medical billing company-Premier Billing Solutions' agreement with

RehabAuthority is that it will maximize RehabAuthority's reimbursement by, inter alia,

submitting claims PBS knows are false.

           284.   Although directly pertinent only to scienter generally,   a   July 14,2014 email

Defendant Roe sent regarding an Idaho state agency's review of RehabAuthority's re-

evaluation billing powerfully illustrates the conspiratorial relationship between

Defendants RehabAuthority, Premier Billing Solutions, and Amy Roe :              "I did notice
some errors on documentation that          I   hope they don't catch."

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        285. In addition      to receiving at least five (5) to eight (8) percent the payments   it

obtains for RehabAuthority, Premier Billing Solutions receives discounted therapy

services for its employees from RehabAuthority as a kickback to ensure the commitment

                                                          oocatching"
Roe displays when she works to prevent the govemment from             the

falsification.

                                         IX.     COUNTS

                                           COTJNT ONE
                  VIOLATIONS O F'THE FEDERAL FALSE CLAIMS ACT
                               31 U.S.C.8 3729(aXlXA)

False Claims for Services Not Provided to Double-Booked Patients, who were Either
   Left Untreated or Treated By Non-credentialed Personnel, as if They Received
                  Continuous, Face-To-Face, Individual Services

        286.       Relator realleges and incorporates by reference the allegations of all

previous paragraphs as if restated herein

        287   .    This is a claim for treble damages and penalties under the False Claims Act,

31 U.S.C.     I   3729, et seq., as amended.

                                                         o'any person
        288.       31 U.S.C. $ 3729(aX1XA) states that                  who . . . knowingly

presents, or causes to be presented a false or fraudulent claim for payment or approval" is

liable under the Act.

        289.       By engaging in the conduct set forth herein, Defendants have knowingly

presented or caused to be presented false or fraudulent claims for approval in violation         of

31 U.S.C. $ 3729(aXlXA).




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        290.   The Government, unaware of the falsity of the records, statements and

claims made or caused to be made by Defendants, paid and continues to pay the claims

that would not be paid but for Defendants' illegal conduct.

        291.   By reason of Defendants' acts, the United States has suffered substantial

actual damages.

                                      COUNTTWO

                                         t
                    False Claims Ac 31 U.S.C.6 3729 (a)(l)(A)
  False Claims for "Unbundled" Services Not Actually Provided in Separate Time
                                    Periods

        292.   Relator realleges and incorporates by reference the allegations of all

previous paragraphs as if restated herein.

        293.   This is a claim for treble damages and penalties under the False Claims Act,

31 U.S.C. $ 3729, et seq., as amended.

                                                      ooany
        294.   31 U.S.C. $ 3729(a)(1XA) states that           person who . . . knowingly

presents, or causes to be presented a false or fraudulent claim for payment or approval" is

liable under the Act.

        295.   By engaging in the conduct set forth herein, Defendants have knowingly

presented or caused to be presented false or fraudulent claims for approval in violation   of

3l   U.S.C. $ 372e(a)(l)(A).

        296.   The Govemment, unaware of the falsity of the records, statements and

claims made or caused to be made by Defendants, paid and continues to pay the claims

that would not be paid but for Defendants' illegal conduct.
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                                       COI]NTTHREE

                     False Claims Act 3 1 U.S.C. E 3729(a'l(1)B)
  Defendants' Falsification of Records-Including Billing Records, Claims Forms,
   and Medical Records-In Support of False Claims for Therapy Services Not
                                             Provided

       297   .   Relator realleges and incorporates by reference the allegations   ofall

previous paragraphs as if restated herein.

       298. 3l U.S.C. $ 3729(a)(1)(B) states that "any person who . . . knowingly
makes, uses, or causes to be made or used, a false record or statement material to a false

or fraudulent claim" is liable under the Act.

       299. By engaging in the conduct set fo(h above, Defendants         have knowingly

made or used, or caused to be made or used, false or fraudulent records or statements

material to false or fraudulent claims within the meaning of $ 3729.

       300.      The Govemment, unaware of the falsity of the records, statements and

claims made or caused to be made by Defendants, paid and continues to pay the clarms

that would not be paid but for Defendants' illegal conduct.

       301.      By reason ofDefendants' acts, the United States has suffered actual

damages.


                                        COUNT FOUR

                    False Claims Act 31 U.S.C. E 3729( (1)(C)
Conspiracy Between Defendants RehabAuthority and Premier Billing Solutions and
their Respective Defendant Management Personnel to Violate The False Claims Act

       302.      Relator realleges and incorporates by reference the above allegations made

in Paragraphs I through 214 as     iffully   restated herein.


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      303.       This is a claim for treble damages and penalties under the False Claims Act,

31 U.S.C. $ 3729, et seq., as amended.

      3A4.       Defendants RehabAuthority, LLC, Kevin Hulsey, Galen Danielson, Adam

Cope, Matthew Smith, Nichole Walker, Amy Roe, and Premier Billing Solutions have,

pursuant to agreements explicit and implicit amongst themselves and through the

Defendant entities they control, committed overt acts to present, or cause to be presented,

false and fraudulent claims for payment and to make, or cause to be made, false records

and statements material to false or fraudulent claims.

       305.      Because of Defendants' conduct, the United States has suffered substantial

actual damages.


                                        COUNT FIVE

                     alse Claim s AcL 31 U.S.C. E 3729 (t )( 1 )(G'l
                          F
        Improper Retention of Medicare Overpayment / Reverse False Claim

       306.      Relator realleges and incorporates by reference the allegations of all

previous paragraphs as if restated herein.

       307   .   31   U.S.C. $ 3729(aX1 XG), imposes liability on any person who knowingly

makes, uses, or causes to be made or used, a false record or statement material to an

obligation to pay or transmit money or propefiy to the Govemment, or knowingly

conceals or knowingly and improperly avoids or decreases an obligation to pay or

transmit money or property to the Govemment.

       308.      Defendants knew, both when RehabAuthority received payments from

Government-funded insurance programs for intentionally false claims as well as when


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RehabAuthority received payments from the Govemment programs that exceeded the

actual cost of the services for which claims for payment had been submitted, that

RehabAuthority needed to review its records for the same overbilled claim submitted to

the Govemment as well as overpayments received from the Government and that               it

needed to reimburse the government for all such overpayments.

       309.         Through the acts desoibed above, by knowingly concealing money that

was owed to the Government when Defendants failed to retum to the Covemment

pa;nnent received for services Defendants knew were not medically necessary or

otherwise did not qualifu for reimbursement under the Medicare program or were

overpayments.

       3   10.      By reason of Defendants' acts the United States has suffered actual

damages.

                                            COUNT SIX

        Minnesota False Claims Act. Minn. S tat. 6 15C.02(a)(1) -(2)^and (3)
 Defendants' Conspiracy to Submit False Claims for Payment For Therapy Services
                     and Falsify Records in Support Thereof

       31   1   .   Relator realleges and incorporates by reference the allegations of all

previous paragraphs as if restated herein.

       312.         This is a qui tam action brought by Relator on behalf of the State   of

Minnesota to recover treble damage and civil penalties under the Minnesota False Claims

Act, Mirur. Stat. $ 15C.01, erse4.

       313.         Defendants RehabAuthority Moorhead, LLC, RehabAuthority Thief fuver

Falls, LLC, RehabAuthority, LLC; Idaho Rehabilitation Partners, LLC, Physical

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Rehabilitation Network, LLC; Physical Rehabilitation Network Holdings, LLC, Premier

Billing Solutions, LLC, Kevil Hulsey, Galen Danielson, Matthew Smith, Nichole Walker,

Adam Cope, and Amy Roe violated Minn. Stat. $ 15C.02, which provides civil liability

for any person who:

        (1) knowingly presents, or causes to be presented, to an officer or employee of the
state or a political subdivision a false or fraudulent claim for payment or approval;

       (2) knowingly makes or uses, or causes to be made or used, a false record or
statement to get a false or fraudulent claim paid or approved by the state or a political
subdivision;

        (3) knowingly consptes to either present a false or fraudulent claim to the state or
a political subdivision for payment or approval or makes, uses, or causes to be made or
used a false record or statement to obtain paynent or approval ofa false or fraudulent
claim;...

       314.       The State of Minnesota, by and through the Minnesota False Claims Act

program and other state healthcare programs, and unaware of Defendants' conduc! paid

the claims submitted by healthcare providers and third party payers in connection

therewith.

       3    15.   Compliance with applicable Medicare, Medicaid and the various federal

laws cited herein was an implied, and upon information and belief, also an express

condition of payment of claims submitted to the State of Minnesota in connection with

Defendants' conduct. Compliance with applicable Minnesota statutes and regulations

was also an express condition of pa1'rnent of claims submitted to the State of Minnesota.

       316.       As   a   result of Defendants' violation of Minn. Stat. $ 15C.01, et seq. the

State of Minnesota has been damaged.




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       317   .   Relator is a private citizen with direct and independent knowledge of the

allegations of this Complainto who has brought this action pursuant to Minn. Stat. $

15C.01, et seq. on behalfofherselfand the State ofMinnesota.

       318.      This Court is requested to accept pendantjurisdiction of this related state

claim as it is predicated upon the exact same facts    as   the federal claim and merely asserts

separate damage to the State of Minnesota in the operation of its Medicaid pmgam.

                                 X.     PRAYERFORRELIEF

       WHEREFORE, Relator, the United States, and the State of Minnesota are entitled

to damages from Defendants in accordance with the provisions of          3l   U.S.C. $$ 3729-

3733, and PlaintifVRelator requests thatjudgment be entered against Defendants,

including that:

                 a.   Defendants cease and desist from violating the False Claims Act, 31

                      U.S.C. $ 3729 et seq.;

                 b.   Defendants pay an amount equal to three times the amount of damages

                      the United States has sustained because of Defendants' actions, plus a

                      civil penalty against Defendants ofnot less than $5,500 and not more

                      than $1 1,000 for each violation of 3 I U.S.C. $ 3729 committed on or

                      before November 1,2015; and not less than $10,957 and not more than

                      S2l,916 for each violation of 3 1 U.S.C. $ 3729 committed after

                      November 2, 201 5 pursuant to $3729 (a)( I ) and 28 C.F.R. $ 85.5 or as

                      may be further adjusted;



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             c.   PlaintifVRelator be awarded the maximum amount allowed as a Relator

                  share pursuant to 31 U.S.C. $ 3730(d);

             d.   Plaintifl/Relator be awarded all costs ofthis action, including attorneys'

                  fees, expenses, and costs pursuant to 31 U.S.C. $ 3730(d);

             e.   Plaintiff/Relator be awarded be awarded all costs of this action,

                  including attorneys' fees, expenses, and costs pursuant to available

                  under the Minnesota False Claims Act, Minn. Stat. $$ 15C.01 et seq.;

             f.   PlaintifVRelator be awarded the maximum amount allowed as a Relator

                  share pursuant to Minn. Strt. 15C.13; and

             g.   The United States, Minnesota, and Plaintif?Relator be granted all such

                  other relief as the Court deems just and proper.

Respecttully submitted and date d this   l!   day ofNovember, 201 7.




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